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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                             Chapter 11
                                          )
SOUTHERN FOODS GROUP, LLC, et al.,        )                             Case No. 19-36313 (DRJ)
                                          )
            Debtors.1                     )                             (Jointly Administered)
                                          )
_________________________________________ )

              EMERGENCY MOTION OF DEBTORS FOR
              ENTRY OF INTERIM AND FINAL ORDERS,
   PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507 AND 552
       (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN SENIOR
       SECURED SUPERPRIORITY POST-PETITION FINANCING,
     AND (B) USE CASH COLLATERAL, (II) GRANTING LIENS AND
 SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, (III) PROVIDING
  ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES, (IV)
 SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF




         1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of
their respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364);
Dean Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965);
Cascade Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings,
LLC (9144); Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II,
LLC (9192); Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin,
LLC (2504); Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean
International Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC
(6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190); Dean
West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC
Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc.
(8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008);
Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675);
Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza
Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and
Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North Haskell
Avenue, Suite 3400, Dallas, TX 75204.
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        EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE
        CONDUCTED ON THIS MATTER ON NOVEMBER 13, 2019 AT 2:30 PM IN
        COURTROOM 400, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU
        OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
        EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST EITHER
        APPEAR AT THE HEARING OR FILE A WRITTEN RESPONSE PRIOR TO
        THE HEARING. OTHERWISE, THE COURT MAY TREAT THE PLEADING
        AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

        RELIEF IS REQUESTED NOT LATER THAN NOVEMBER 13, 2019.

        REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

        The above-captioned debtors and debtors-in-possession, and their debtor affiliates

(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the

“Chapter 11 Cases”) file this Motion of Debtors for Entry of Interim and Final Orders,

(I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority Post-Petition

Financing, and (B) Use Cash Collateral, (II) Granting Liens and Superpriority

Administrative Expense Claims, (III) Providing Adequate Protection to Prepetition

Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (this

“Motion”)2. In support of this Motion, the Debtors rely on (a) the Declaration of Bo S. Yi

attached hereto as Exhibit B (the “Yi Declaration”) and (b) the Declaration of Gary

Rahlfs in Support of Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First

Day Declaration”), both filed contemporaneously herewith. In further support of this

Motion, the Debtors respectfully state as follows:

                                      Jurisdiction and Venue

        1.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334




2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the DIP Credit Agreement (as defined below) or the Interim Order (as defined below) as applicable.

                                                    2
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and the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May

24, 2012) (Hinojosa, C.J.).

       2.      This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2). In addition, the Debtors confirm their consent, pursuant to Bankruptcy Rule

7008 and Rule 7008-1 of the Bankruptcy Local Rules for the United States Bankruptcy

Court for the Southern District of Texas (the “Local Rules”), to the entry of a final order

by the Court in connection with this Motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution. Venue

of the Chapter 11 Cases and related proceedings is proper in this district pursuant to 28

U.S.C. §§ 1408 and 1409.

       3.      By this Motion, and pursuant to sections 105, 361, 362, 363(b), 363(c)(2),

364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e), 503, 506(c) and 507 of title 11 of the

United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004, and 9014

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local

Rule 9013-1(b), the Debtors seek entry of interim and final orders (the

“Proposed Orders”) authorizing the relief detailed below.

                                       Introduction

       4.      By this Motion, the Debtors seek approval to obtain superpriority, priming

lien DIP Facility (as defined below) in the aggregate principal amount of $425 million, to

be funded by certain of the Debtors’ prepetition secured lenders. The DIP Facility

consists of a committed (a) $236,200,000 million new money revolving loan facility,

available for the incurrence of new money revolving loans or the issuance of up to $25

million of letters of credit and (b) upon entry of the Final Order (as defined below), roll-
                                              3
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    up term loan facility in an aggregate principal amount of $188,800,000 million to

    refinance all loans outstanding under the Debtors’ prepetition secured revolving credit

    facility and accrued and unpaid interest thereon3. The DIP Facility is backstopped by

    Rabobank (as defined below) and is part of a comprehensive financing package that

    includes an amended and restated $425 million Securitization Facility, to be provided by

    certain of the DIP Lenders (as defined below).

            5.       The proposed financing was obtained following a competitive marketing

    process by Evercore Group L.L.C. (“Evercore”), in which the Debtors solicited and

    obtained third-party financing proposals and ultimately concluded that the DIP Facility

    provided by certain existing secured lenders presented the most favorable pricing and

    terms and afforded the Debtors with the greatest certainty of execution available to the

    Debtors under the circumstances, especially when considered in combination with the

    amended Securitization Facility.

            6.       The DIP Facility is critical to enabling the Debtors to fund their operations

    during the course of the Chapter 11 Cases as they pursue restructuring alternatives and

    preserve and maximize the value of their estates for the benefit of all parties in interest.

    Importantly, the DIP Facility provides the Debtors with the runway and flexibility to

    pursue either a sale of substantially all assets or a standalone reorganization. For these

    reasons, and for the reasons set forth below and in the Yi Declaration and the First Day

    Declaration, the Debtors believe that entering into the DIP Credit Agreement is a sound




3
    The Commitment Letter is attached hereto as Exhibit C-1. The Debtors propose to file the Commitment
    Letter under seal pursuant to the Debtors’ Emergency Motion for Entry of an Order Authorizing the
    Debtors to File Under Seal the Fee Letters and Commitment Letter, filed contemporaneously herewith (the
    “Sealing Motion”).
                                                      4
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exercise of the Debtors’ business judgment.          Accordingly, the Debtors respectfully

request that the Court enter the Proposed Orders.

                                    Relief Requested

       7.      By this Motion, the Debtors seek entry of an interim order (the “Interim

Order”), substantially in the form attached hereto as Exhibit A, and a final order

(the “Final Order”) granting the following relief:

               (a)    authorizing Dean Foods Company (the “DIP Borrower”) to
                      obtain, and certain of the DIP Borrower’s Debtor subsidiaries
                      (collectively, in their capacity as such, the “Guarantors” and,
                      together with the DIP Borrower, the “DIP Loan Parties”) to
                      guaranty, debtor-in-possession financing (the “DIP Facility”)
                      consisting of:

                      (A)     a new money revolving loan facility (the “DIP Revolving
                              Facility”) in an aggregate principal amount of
                              $236,200,000 that may be made available for the
                              incurrence of new money revolving loans (“DIP Revolving
                              Loans”) or, up to a sub-limit of $25 million (the “L/C Sub-
                              Limit”), the issuance of letters of credit (“DIP Letters of
                              Credit”), provided that issuance of DIP Letters of Credit
                              under the L/C Sub-Limit shall only be available if, and to
                              the extent that, there is no remaining capacity for the
                              issuance of letters of credit under the Receivables
                              Financing; and

                      (B)     upon and after entry of the Final Order (as defined below),
                              term loans (the “DIP Roll-Up Loans”, and together with
                              the DIP Revolving Loans, the “DIP Loans”; and the DIP
                              Loans collectively with the DIP Letters of Credit, the “DIP
                              Extensions of Credit”) in an aggregate principal amount
                              equal to, as of the Petition Date, the aggregate outstanding
                              principal amount of all loans (the “Prepetition Revolving
                              Loans”) under that certain Credit Agreement, dated as of
                              February 22, 2019 (as amended, amended and restated,
                              supplemented or otherwise modified from the Petition
                              Date, the “Prepetition Credit Agreement” and, such
                              facility, the “Prepetition Revolving Credit Facility”),
                              among the Dean Foods Company, each lender party thereto
                              from time to time (the “Prepetition Revolving Lenders”),
                              and Coöperatieve Rabobank U.A., New York Branch
                              (“Rabobank”), as administrative agent (in such capacity,
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                     the “Prepetition Revolving Agent” and, together with the
                     Prepetition Revolving Lenders, the Issuing Bank and the
                     other Holders of Secured Obligations (each as defined
                     therein), the “Prepetition Revolving Secured Parties”),
                     which Prepetition Revolving Loans will be refinanced as
                     (and deemed paid by) the DIP Roll-Up Loans (“Revolver
                     Refinancing”);

        (b)   authorizing the Debtors, subject to satisfaction (or waiver) of all
              applicable conditions precedent under the DIP Loan Documents
              (as defined below) in accordance therewith:

              (A)    during the period (the “Interim Period”) from the date
                     hereof through and including the earlier to occur of (x) the
                     date of entry of the Final Order by this Court and (y) the
                     Termination Date, (1) to incur DIP Revolving Loans and
                     (2) to the extent of any availability under the DIP L/C Sub-
                     Limit, issue DIP Letters of Credit, in an aggregate principal
                     amount (with respect to DIP Revolving Loans and any DIP
                     Letters of Credit) not to exceed $50 million (the “Interim
                     Availability”);

              (B)    upon entry of the Final Order and thereafter until the
                     Termination Date, (1)(A) to incur DIP Revolving Loans
                     and (B) to the extent of any availability under the DIP L/C
                     Sub-Limit, issue DIP Letters of Credit (with respect to the
                     foregoing clauses (A) and (B), in an aggregate principal
                     amount not to exceed $236,200,000 (including the
                     aggregate amount borrowed under the DIP Facility during
                     the Interim Period)), and (2) (x) to incur DIP Roll-Up
                     Loans in an aggregate amount not to exceed $188,800,000
                     and consummate the Revolver Refinancing and (y)
                     immediately pay in cash all accrued and unpaid interest and
                     fees outstanding in respect of the Prepetition Revolving
                     Loans as of the date the DIP Roll-Up Loans are incurred; ;
                     provided that borrowings or DIP Revolving Loans will be
                     limited to the greater of the aggregate amount of
                     commitments available to be drawn at the time and a
                     borrowing base calculated pursuant to the terms of the DIP
                     Credit Agreement;

        (c)   authorizing the DIP Loan Parties, to (A) enter into, execute and
              deliver the documentation governing the DIP Facility, the
              Superpriority Secured Debtor-in-Possession Credit Agreement, by
              and among the DIP Borrower, the lenders party thereto (the “DIP
              Lenders”), and Rabobank, as arranger, Rabobank, as
              administrative and collateral agent (in such capacities, collectively,
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              the “DIP Agent”) and as the Issuing Bank (as defined therein) (in
              such capacity, the “DIP Issuing Bank” and, together with the DIP
              Agent DIP Lenders, the “DIP Secured Parties”), substantially in
              the form attached hereto as Exhibit 1 to Exhibit A (as amended,
              restated, supplemented or otherwise modified from time to time in
              accordance with the terms hereof and thereof, the “DIP Credit
              Agreement” and, collectively with the DIP Budget, the Interim
              Order, the Final Order, and all other Loan Documents (as defined
              in the DIP Credit Agreement), including, without limitation, all
              commitment and fee letters and agreements entered into in
              connection therewith, in each case, as hereafter amended, amended
              and restated, supplemented or otherwise modified from time to
              time in accordance with the terms hereof and thereof, collectively,
              the “DIP Loan Documents”), in each case, to which they are a
              party, and (B) to perform such other and further acts as may be
              necessary or appropriate in connection therewith, or otherwise
              required under the DIP Loan Documents;

        (d)   authorizing the Debtors to use the proceeds of the DIP Facility
              subject to the 13-week cash flow forecast prepared by the DIP
              Borrower and attached as Exhibit 2 to Exhibit A (as updated from
              time to time) (the “DIP Budget”) subject to any Permitted
              Variance and as otherwise provided in the DIP Loan Documents;

        (e)   Granting to the DIP Agent (for the benefit of the DIP Lenders) in
              respect of the DIP Obligations, a superpriority administrative
              expense claim pursuant to Section 364(c)(1) of the Bankruptcy
              Code and first priority priming liens on and security interests in
              substantially all assets and property of the DIP Loan Parties (now
              owned or hereafter acquired), pursuant to Sections 364(c)(2), (c)(3)
              and (d)(1) of the Bankruptcy Code, in each case, as and to the
              extent, and subject to the priorities, set forth more fully below and
              in the DIP Loan Documents, and subject to the Carve-Out (as
              defined below) and the liens permitted under Section 6.02 of the
              DIP Credit Agreement;

        (f)   authorizing the Debtors to use cash collateral as such term is
              defined in Section 363 of the Bankruptcy Code (the “Cash
              Collateral”) in which the Prepetition Secured Parties (as defined
              in the Order) have an interest and all other Prepetition Collateral
              (as defined in the Order);

        (g)   the granting of the Adequate Protection Superpriority Claim (as
              defined below) and Adequate Protection Liens (as defined below),
              to the extent of and as compensation for any Diminution of Value
              (as defined below), and the payment of fees and expenses to the
              Prepetition Agent (as defined in the Order) for the benefit of the
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                              Prepetition Secured Parties, in each case, as set forth more fully
                              below and subject to the Carve-Out;

                      (h)     approving certain stipulations by the Debtors with respect to the
                              Prepetition Financing Documents and the Prepetition Collateral as
                              set forth herein;

                      (i)     modifying the automatic stay as set forth herein and the DIP Loan
                              Documents, to the extent necessary, to implement and effectuate
                              the terms of the DIP Facility, the Interim Order, and the other DIP
                              Loan Documents;

                      (j)     scheduling a final hearing (the “Final Hearing”) to consider entry
                              of an order granting the relief requested in the Motion on a final
                              basis and approving the form of notice with respect to the Final
                              Hearing and the transactions contemplated herein; and

                      (k)     the waiver by the Court of any applicable stay (including under
                              Bankruptcy Rule 6004) and provision for the immediate
                              effectiveness of both the Interim Order and the Final Order.

                              Concise Summary of Terms of DIP Facility

            8.        Under the disclosure requirements of Bankruptcy Rules 4001(b), (c), and

    (d) and the United States Bankruptcy Court for the Southern District of Texas Procedures

    for Complex Chapter 11 Cases (the “Complex Case Procedures”), the following table

    concisely summarizes the significant terms of the DIP Facility and the Interim Order:4

                                        Summary of Relevant Provisions

        Bankruptcy
                                                      Summary of Material Terms
      Code/Local Rule

    Borrower                Dean Foods Company
    Bankruptcy Rule         See DIP Credit Agreement, Introductory Preamble
    4001(c)(1)(B)

    Guarantors              Each Subsidiary of the DIP Borrower other than the Unrestricted Subsidiaries
    Bankruptcy Rule         See DIP Credit Agreement § 1.01 (Definitions of “Subsidiary Guarantor” and
    4001(c)(1)(B)           “Unrestricted Subsidiary”)


4
     This summary, including the defined terms it uses (whether or not defined within the summary), is
    qualified in its entirety by the provisions of the DIP Loan Documents and the Interim Order, as applicable.
    To the extent that there are any conflicts between this summary, on the one hand, and any DIP Loan
    Document or the Interim Order, as applicable, on the other, the terms of such DIP Loan Document or the
    Interim Order, as applicable, shall govern.

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DIP Lenders           The Persons listed on Schedule 1.01(a) of the DIP Credit Agreement and their
Bankruptcy Rule       permitted assignees
4001(c)(1)(B)         See DIP Credit Agreement, § 1.01 (Definitions of “Lenders”)

DIP Agent             Coöperatieve Rabobank U.A., New York Branch
Bankruptcy Rule       See DIP Credit Agreement, § 1.01 (Definition of “Administrative Agent”)
4001(c)(1)(B)

Amount and Facility   A senior secured superpriority debtor-in-possession financing in an aggregate
Bankruptcy Rule       principal amount of up to $425 million, consisting of:
4001(c)(1)(B)
                      (a)      a new money revolving loan facility in an aggregate principal amount of
                               up to $236,200,000 that may be made available for the incurrence of
                               new money revolving loans or, up to a sub-limit of $25 million, in the
                               issuance of letters of credit; provided that the issuance of DIP Letters of
                               Credit under the L/C Sub-Limit shall only be available if, and to the
                               extent that, there is no remaining capacity for the issuance of letters of
                               credit under the Receivables Financing (as defined below); provided,
                               further, that borrowings under the revolving loan facility will be limited
                               to the greater of the aggregate amount of commitments available to be
                               drawn at the time and a borrowing base calculated pursuant to the terms
                               of the DIP Credit Agreement; and

                       (b)     upon and after entry of the Final Order, term loans in an aggregate
                               principal amount equal to, as of the date the Chapter 11 Cases are
                               commenced, the aggregate outstanding principal amount of all loans
                               under that certain Credit Agreement, dated as of February 22, 2019 (as
                               amended, amended and restated, supplemented or otherwise modified
                               from time to time), among the Dean Foods Company, each lender party
                               thereto from time to time, and Coöperatieve Rabobank U.A., New York
                               Branch, as administrative agent , which Prepetition Revolving Loans
                               will be refinanced as (and deemed paid by) the DIP Roll-Up Loans.

                      See DIP Credit Agreement § 1.01 (Definition of “Aggregate Revolving
                      Commitment,” “DIP Term Loan Commitment” and “LC Commitment”) and
                      §§2.01, 2.07

Funding Use of        All proceeds of the Prepetition Collateral and the DIP Collateral, including
Proceeds              proceeds realized from a sale or disposition thereof, or from payment thereon, and
Bankruptcy Rule       all proceeds of the DIP Facility (net of any amounts used to pay fees, costs and
4001(c)(1)(B)         expenses payable under the Interim Order or the Final Order) may be used and/or
                      applied in accordance with the terms and conditions of the Interim Order and the
                      DIP Loan Documents, for the types of expenditures set forth in the DIP Budget
                      (subject to Permitted Variances), including:
                      (i) to pay fees, interest, payments and expenses associated with the DIP Credit
                      Agreement and the other DIP Loan Documents;
                      (ii) to fund the cost of administrating the Chapter 11 Cases (including, without
                      limitation, adequate protection payments and professional fees and expenses);
                      (iii) to finance other pre-petition and pre-filing expenses that are approved by the
                      Bankruptcy Court and permitted by the DIP Budget (subject to Permitted
                      Variances);
                      (iv) for working capital and general corporate purposes; and
                      (v) for the Prepetition Debt Financing.
                      See DIP Credit Agreement § 5.08 (Use of Proceeds), and Interim Order ¶ I

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Interest Rate              DIP Revolving Loans and DIP Roll-Up Loans will bear interest, payable in cash,
Bankruptcy Rule            at the following rates:
4001(c)(1)(B)
                           (b)      with respect to LIBOR Loans, the Adjusted LIBO Rate (with a zero
                                    floor) plus 7.00% per annum, and

                           (c)      with respect to ABR Loans, the Alternative Base Rate (with a zero floor)
                                    plus 6.00% per annum.

                           See DIP Credit Agreement §1.01 (Definition of “Applicable Rate”) and §2.13
                           (Interest)

Default Interest           DIP Loans will bear default interest at the rate of 2.00% per annum plus (i) in the
Bankruptcy Rule            case of any Loan, the rate otherwise applicable to such Loan and (ii) in the case of
4001(c)(1)(B)              any other amount, the rate applicable to the ABR Loans.
                           See DIP Credit Agreement § 2.13 (Interest)

Termination                The earliest to occur of:
Bankruptcy Rule            (a)       the effective date of a plan of reorganization filed in the Bankruptcy
4001(c)(1)(B)                        Cases that is confirmed pursuant to an order of the Bankruptcy Court;
                           (b)       the date of consummation of a sale, pursuant to section 363 of the
                                     Bankruptcy Code or otherwise, of all or substantially all of the Debtors’
                                     assets;
                           (c)       the date that is forty-five (45) days after the Petition Date if a Final
                                     Order has not been entered by the Bankruptcy Court by such date;
                           (d)       the Interim Order or the Final Order, as applicable, ceasing to be in full
                                     force and effect for any reason;
                           (e)       the acceleration of the Obligations or termination by the Revolving
                                     Lenders of the Revolving Commitments; and
                           (f)      the Scheduled Maturity Date.
                           See DIP Credit Agreement § 1.01 (Definition of “Maturity Date”)

Fees                       Unused Commitment Fee: Applicable Rate on the average daily amount of the
Bankruptcy Rule            Available Revolving Commitment of such Revolving Lender during the period
4001(c)(1)(B)              from and including the Effective Date to but excluding the date on which
                           Commitment terminates.
                           Letter of Credit Fee: Applicable Rate used to determine the interest applicable to
                           Libor Revolving Loans.
                           Letter of Credit Fronting Fees: 0.125% on the average daily amount of the LC
                           Exposure.
                           Exit Fee: 1.25% of the aggregate principal amount of DIP Term Loans prepaid,
                           refinanced, or replaced or the amount of Revolving Commitments permanently
                           refinanced, replaced, cancelled or reduced.
                           Fee Letters: The arrangement, backstop, upfront and administrative agency fees
                           payable pursuant to the Agent Fee Letter attached hereto as Exhibit C-2 and the
                           Farm Credit Fee Letter attached hereto as Exhibit C-2. Additional terms of the
                           DIP Facility are included in the Commitment Letter attached hereto as Exhibit C-
                           1. 5
                           See DIP Credit Agreement § 2.12 (Fees), Fee Letter


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    The Debtors propose to file the Fee Letters pursuant to the Sealing Motion
                                                       10
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Optional           DIP Loans may be voluntarily prepaid, in whole or in part, without premium or
Prepayments        penalty subject to customary breakage costs and the exit fee described above.
Bankruptcy Rule    Once repaid, DIP Roll-Up Loans may not be reborrowed.
4001(c)(1)(B)      See DIP Credit Agreement § 2.11(a) (Prepayment of Loans)

Mandatory          (a) Within three (3) Business Days following the receipt of Net Cash Proceeds in
Prepayments            connection with any Asset Sale or series of Asset Sales in excess of $5
Bankruptcy Rule        million, the DIP Borrower will be require to repay the Obligations in an
4001(c)(1)(B)          amount equal to such Net Cash Proceeds.
                   (b) The DIP Borrower must repay Obligations with the proceeds received in
                       connection with any Recovery Event in excess of $5 million unless applied to
                       repaid, replace or relocate damaged property within 30 days of receipt.
                   (c) The DIP Borrower must repay Revolving Loans and/or Cash Collateralize LC
                       Exposure in an amount equal to the amount by which the aggregate principal
                       amount of Revolving Exposures exceed the Maximum Available Amount.
                   (d) If Unrestricted Cash, less the sum of the budged operating disbursements for
                       the immediately succeeding week and the amount of the Carve-Out exceeds
                       $30 million for five (5) consecutive Business Days, the DIP Borrower will be
                       required to repay the Revolving Loans in the amount of such excess.
                   See DIP Credit Agreement §§ 2.11(b), 2.11 (c) (Prepayment of Loans)

Security and       The DIP Agent and other DIP Secured Parties in order to secure the DIP
Priority           Obligations are hereby granted the following security interests and liens, which
Bankruptcy Rule    shall immediately be valid, binding, perfected, continuing, enforceable and non-
4001(c)(1)(B)(i)   avoidable all liens and security interests granted to the DIP Agent and each of the
                   DIP Secured Parties (x) during the Interim Period, in respect of the DIP
                   Obligations under the DIP Revolving Facility (including, subject to any conditions
                   or limitation specified in the DIP Loan Documents, any DIP Letters of Credit
                   issued under the DIP L/C Sublimit) and (y) upon entry of the Final Order, in
                   respect of the remaining DIP Revolving Loans (including, subject to any
                   conditions or limitation specified in the DIP Loan Documents, any DIP Letters of
                   Credit issued under the DIP L/C Sublimit) and the DIP Roll-Up Loans (pursuant
                   to the Interim Order, any Final Order and the other DIP Loan Documents, the
                   “DIP Liens”):
                   (a) pursuant to Section 364(c)(2) of the Bankruptcy Code, valid, enforceable,
                       perfected and non-avoidable first priority liens on and security interests in all
                       DIP Collateral that was not encumbered by valid, enforceable, perfected and
                       non-avoidable liens as of the Petition Date; and
                   (b) pursuant to Section 364(c)(3) and Section 364(d) of the Bankruptcy Code,
                       valid, enforceable, perfected and non-avoidable first priority priming liens on
                       and security interests in all other DIP Collateral, which liens and security
                       interests shall, in each case, be (x) junior only to any pre-existing liens as of
                       the Petition Date of a third party, i.e., not any Prepetition Secured Parties
                       (each a “Third Party Lienholder”) on the DIP Collateral, but solely to the
                       extent that such liens and security interests of any Third Party Lienholders
                       were, in each case, as of the Petition Date, valid enforceable, perfected and
                       non-avoidable liens, or were perfected subsequent to the Petition Date as
                       permitted by Section 546(b) of the Bankruptcy Code (i) senior to the
                       Prepetition Liens or (ii) attached to property of the Debtors that did not
                       constitute Prepetition Collateral (such liens in the preceding clauses (i) and
                       (ii), the “Permitted Third Party Liens”), and (y) senior to all other liens on,
                       and security interests in the DIP Collateral, including without limitation, the
                       Prepetition Liens, the Adequate Protection Liens, and the liens of any Third
                       Party Lienholders which are pari passu with or junior to the Prepetition
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                          Liens.
                     See Interim Order ¶2(e)

DIP Budget and       The use of proceeds of the DIP Facility is subject to a customary budget, including
Related Covenants    any permitted variances.
Bankruptcy Rule      See DIP Credit Agreement §1.01 (Definition of “Agreed Budget”), § 5.12 and
4001(c)(1)(B)        Interim Order ¶ (iv)

Reporting            Loan Parties will be required to deliver a customary budget and will be subject to
Bankruptcy Rule      a variance covenant as more fully set forth in the DIP Credit Agreement.
4001(c)(1)(B)        See DIP Credit Agreement § 5.01 (Financial Statements and Other Information)

Borrowing            In addition to other customary conditions precedent (collectively, the “Conditions
Conditions           Precedent”):
Bankruptcy Rule          (a) Delivery of the Agreed Budget;
4001(c)(1)(B)
                         (b) Entry of the Interim Order and the Final Order, as applicable, and such
                             orders are in full force and effect;
                         (c) Execution of definitive documentation by the Loan Parties and the other
                             parties thereto that are required to be executed;
                         (d) Accuracy of representations and warranties;
                         (e) All fees, costs and expenses required to have been paid or reimbursed, as
                             set forth in the DIP Credit Agreement have been paid or reimbursed;
                         (f) Amendment of the Prepetition Receivables Financing Agreement;
                         (g) Entry of Cash Management Orders and all other “first day orders;”
                         (h) Revolving Exposures not exceeding Maximum Available Commitment;
                         (i) In respect of Letters of Credit, there shall be no remaining capacity
                             (either at all or for the size of the letter of credit request) under any
                             Permitted Receivables Financing; and
                         (j) Unrestricted cash, less the sum of the budgeted operating disbursements
                             for the immediately succeeding week and the amount of the Carve-Out,
                             must not exceed $30 million after giving effect to such borrowing.
                     See DIP Credit Agreement §§ 4.01, 4.02 (Conditions)

Stipulations as to   In the Interim Order, the Debtors stipulate to certain facts, including, among other
Prepetition Claims   things, that:
and Liens                (a) As of the Petition Date, the Prepetition Loan Parties were justly and
Bankruptcy Rule              lawfully indebted and liable to the Prepetition Secured Parties under the
4001(c)(1)(B)(iii)           Prepetition Loan Documents, without objection, defense, counterclaim or
                             offset of any kind, in the aggregate principal amount of not less than
                             $188,800,000 on account of outstanding Loans under (and as defined in)
                             the Prepetition Revolving Credit Agreement (the “Prepetition Revolving
                             Loans”), plus all accrued and unpaid interest thereon, and any fees,
                             expenses,     indemnification     obligations,    guarantee     obligations,
                             reimbursement obligations, including, without limitation, any attorneys’,
                             accountants’, consultants’, appraisers’ and financial and other advisors’
                             fees that are chargeable to or reimbursable by the Prepetition Loan
                             Parties, and all other Obligations under (and as defined in) the Prepetition
                             Revolving Credit Agreement.

                         (b) (i) The Prepetition Revolving Loans constitute legal, valid, binding, non-
                             avoidable obligations of the Prepetition Loan Parties enforceable in
                             accordance with the terms of the applicable Prepetition Loan Documents,
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                               and (ii) no offsets, recoupments, challenges, contests, attacks, objections,
                               defenses, claims or counterclaims of any kind or nature to any of the
                               Prepetition Liens or the Prepetition Revolving Loans exist, and no
                               portion of the Prepetition Liens or the Prepetition Revolving Loans is
                               subject to any challenge, cause of action, or defense, including
                               avoidance, disallowance, disgorgement, subordination (equitable or
                               otherwise), re-characterization, or other challenge of any kind or nature
                               under the Bankruptcy Code, applicable non-bankruptcy law or otherwise.

                          (c) The Prepetition Liens granted by the Prepetition Secured Parties, to or for
                              the benefit of the Prepetition Agent and the other Prepetition Secured
                              Parties, as security for the Prepetition Obligation, encumber the
                              Prepetition Collateral, as the same existed on or at any time prior to the
                              Petition Date. The Prepetition Liens have been properly recorded and
                              perfected under applicable non-bankruptcy law, and are legal, valid,
                              enforceable, non-avoidable, and not subject to contest, avoidance, attack,
                              offset, re-characterization, subordination or other challenge of any kind
                              or nature under the Bankruptcy Code, applicable non-bankruptcy law or
                              otherwise. As of the Petition Date, and without giving effect to the
                              Interim Order, the Debtors are not aware of any liens or security interests
                              over the Prepetition Collateral of the Prepetition Loan Parties having
                              priority over the Prepetition Liens, except certain Permitted Liens (as
                              defined in the Prepetition Revolving Credit Agreement). The Prepetition
                              Liens were granted to or for the benefit of the Prepetition Agent and the
                              other Prepetition Secured Parties for fair consideration and reasonably
                              equivalent value, and were granted contemporaneously with, or
                              covenanted to be provided as inducement for, the making of the loans
                              and/or commitments and other financial accommodations secured
                              thereby.

                          (d) The DIP Secured Parties have acted in good faith, and without
                              negligence, misconduct or violation of public policy or law, in respect of
                              all actions taken by them in connection with or related in any way to
                              negotiating, implementing, documenting or obtaining requisite approvals
                              of the DIP Facility and the use of Cash Collateral.

                          (e) None of the DIP Secured Parties or the Prepetition Secured Parties are
                              control persons or insiders of the Debtors or any of their affiliates by
                              virtue of any of the actions taken with respect to, in connection with,
                              related to, or arising from the DIP Facility, the Prepetition Revolving
                              Loans, the DIP Loan Documents and/or the Prepetition Loan Documents.

                          (f) As of the date hereof, there exist no claims or causes of action against
                              any of the DIP Agent, the other DIP Secured Parties, or the Prepetition
                              Secured Parties with respect to, in connection with, related to, or arising
                              from the DIP Loan Documents, the Prepetition Loan Documents, the DIP
                              Facility and/or the Prepetition Revolving Obligations that may be
                              asserted by the DIP Loan Parties or, to the Debtors’ knowledge, any other
                              person or entity.

                      See Interim Order ¶ F

Release of Claims     In the Interim Order, the Debtors provide the following release of claims:
against the DIP       The Debtors, on behalf of themselves and their respective estates, forever and
Secured Parties and   irrevocably release, discharge, and acquit all former, current and future DIP
Prepetition Secured
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Parties              Secured Parties and any Prepetition Secured Parties that become DIP Lenders, all
                     holders of participation interests under the DIP Credit Agreement or the
                     Prepetition Revolving Credit Agreement, all Affiliates of the DIP Secured Parties
                     and of the Prepetition Secured Parties, and each of the former, current and future
                     officers, employees, directors, agents, representatives, owners, members, partners,
                     financial and other advisors and consultants, legal advisors, shareholders,
                     managers, consultants, accountants, attorneys, affiliates, and predecessors and
                     successors in interest of each DIP Secured Party and each Prepetition Secured
                     Party and of each of their respective Affiliates, in each case in its capacity as such,
                     (collectively, the “Releasees”) of and from any and all claims, demands, liabilities,
                     responsibilities, disputes, remedies, causes of action, indebtedness and obligations,
                     rights, assertions, allegations, actions, suits, controversies, proceedings, losses,
                     damages, injuries, attorneys’ fees, costs, expenses, or judgments of every type,
                     whether known, unknown, asserted, unasserted, suspected, unsuspected, accrued,
                     unaccrued, fixed, contingent, pending or threatened including, without limitation,
                     all legal and equitable theories of recovery, arising under common law, statute or
                     regulation or by contract, of every nature and description, arising out of, in
                     connection with, or relating to the DIP Facility, the DIP Loan Documents, the
                     Prepetition Revolving Credit Facility and the other Prepetition Loan Documents
                     and/or the transactions contemplated hereunder or thereunder including, without
                     limitation, (x) any so-called “lender liability” or equitable subordination claims or
                     defenses, (y) any and all claims and causes of action arising under the Bankruptcy
                     Code, and (z) any and all claims and causes of action with respect to the validity,
                     priority, perfection or avoidability of the liens or claims of the DIP Agent, the
                     other DIP Secured Parties, and/or the Prepetition Secured Parties. The Debtors
                     further waive and release any defenses, right of counterclaim, right of setoff or
                     deduction of the payment of the Prepetition Revolving Loans and the DIP
                     Obligations that the Debtors now have or may claim to have against the Releasees
                     arising out of, connected with, or relating to any and all acts, omissions or events
                     occurring prior to the entry of the Interim Order.
                     See Interim Order ¶ F(v)
Effect of            The Debtors’ stipulations, admissions, agreements, releases, and waivers
Stipulations         contained in the Interim Order, including the stipulations set forth in Paragraph F
Bankruptcy Rule      of the Interim Order (the “Stipulations”), are and shall be binding upon the
4001(c)(1)(B)(iii)   Debtors and any and all of the Debtors’ successors-in-interest and assigns
                     (including, without limitation, any chapter 7 or chapter 11 trustee, responsible
                     person, examiner with expanded powers, or other estate representative). The
                     Stipulations, and all other admissions, agreements, releases and waivers set forth
                     in the Interim Order also are and shall be binding upon all other parties-in-interest
                     and each of their respective successors-in-interest and assigns, unless, and solely
                     to the extent that (i) parties-in-interest, in each case with standing and requisite
                     authority to do so have timely filed the proper pleadings, and timely commenced
                     the appropriate proceedings under the Bankruptcy Code and Bankruptcy Rules, (a)
                     objecting to or challenging any of the Stipulations or (b) otherwise asserting or
                     prosecuting any action against the Prepetition Secured Parties or any of their
                     respective affiliates, agents, attorneys, advisors, professionals, officers, directors,
                     or employees in connection with matters covered by the Stipulations (each such
                     proceeding or appropriate pleading commencing a proceeding or other contested
                     matter, a “Challenge”), by no later than (x) with respect to the official committee
                     of unsecured creditors (if one is appointed), the date that is sixty (60) days from
                     the date such committee is appointed and (y) with respect to all other parties in
                     interest, the date that is seventy-five (75) days from the entry of the Interim Order
                     (the period described in the immediately preceding clauses (x) and (y) shall be
                     referred to as the “Challenge Period,” and the date that is the next calendar day
                     after the termination of the Challenge Period shall be referred to as the

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                      “Challenge Period Termination Date”), as such date may be extended as to any
                      such party-in-interest by the Prepetition Agent (with the consent of the Required
                      Lenders (as defined in the Prepetition Revolving Credit Agreement) and each
                      applicable individual Prepetition Secured Party that is the subject of a Challenge
                      or by any such later date as has been ordered by the Court for cause upon a motion
                      filed and served within the Challenge Period (before giving effect to such
                      extension) and (ii) the Court enters judgment in favor of the plaintiff or movant in
                      any such timely and properly commenced Challenge proceeding, and any such
                      judgment has become final and is not subject to any further review or appeal.
                      See Interim Order ¶ 6

Adequate Protection   Until the indefeasible discharge of the Prepetition Term Facility and Prepetition
Bankruptcy Rule       Revolving Credit Facility, and pursuant to sections 361, 363(e), and 364(d)(1) of
4001(c)(1)(B)(ii)     the Bankruptcy Code, the Prepetition Secured Parties will be authorized to receive
                      as adequate protection:

                          (a) Until the Revolver Refinancing occurs (and, on a contingent basis, until
                              expiration of the Challenge Period) to the extent of diminution in value of
                              their collateral, replacement or, if applicable, new liens on the DIP
                              Collateral to secure adequate protection claims, subject and subordinate
                              only to the Carve-Out, the DIP Liens, and the Prepetition Liens;

                          (b) Until the Revolver Refinancing occurs (and, on a contingent basis, until
                              expiration of the Challenge Period), superpriority claims as provided for
                              in section 507(b) of the Bankruptcy Code that are junior to the DIP
                              Superpriority Claims;

                          (c) Current cash payments on a monthly basis (x) from and after the entry of
                              the Interim Order, of all accrued and unpaid interest and fees owing,
                              whether incurred or accrued prior to or on or after the Petition Date,
                              under the Prepetition Revolving Credit Agreement at the applicable rate
                              of defaults and on the payment dates provided therein and (y)
                              immediately upon the entry of the Final Order, all remaining accrued and
                              unpaid interest fees owning by the Debtors under the Prepetition
                              Revolving Credit Agreement as of the date the DIP Roll-Up Loans are
                              incurred, at the applicable default rates provided for in the Prepetition
                              Credit Agreement;

                          (d) Until the Revolver Refinancing has occurred, current cash reimbursement
                              of the reasonable and documented fees and expenses (including
                              reasonable and documented professional fees) incurred by the DIP Agent;

                          (e) Subject to the entry of the Final Order, use of the DIP Roll-Up Loans to
                              consummate the Revolver Refinancing;

                          (f) Until the Revolver Refinancing has occurred, the delivery of all monthly
                              financial reporting given to the U.S. Trustee, and all of the financial
                              reporting and notices as, and when, required to be provided to the DIP
                              Agent.
                      See Interim Order ¶ 4

Covenants             Affirmative Covenants: Customary and appropriate for financings of this type,
Bankruptcy Rule       including, (i) financial reporting and other information, (ii) notices of material
4001(c)(1)(B)         events, (iii) conduct of business, (iv) payment of obligations, (v) maintenance of
                      properties, (vi) inspection rights on books and records, (vii) compliance with laws,

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                    (viii) use of proceeds, (ix) insurance, (x) subsidiary guarantors, pledges, collateral,
                    and further assurances, (xi) mortgaged property, (xii) agreed budget, (xiii) capital
                    expenditures, (xiv) agreement to deliver collateral documents, (xv) permitted
                    variances, (xvi) milestones, (xvii) periodic calls, and (xviii) post-closing
                    obligations.
                    See DIP Credit Agreement Article V (Affirmative Covenants)
                    Negative Covenants: Customary and appropriate for financings of this type,
                    including restrictions on (i) indebtedness, (ii) liens, (iii) fundamental changes, (iv)
                    investments, loans, advance and acquisitions, (v) asset sales, (vi) sale and
                    leaseback transactions, (vii) restricted payments, (viii) prepayment of other
                    indebtedness, (ix) transactions with affiliates, (x) restrictive agreements, (xi)
                    amendments to other indebtedness, (xii) intentionally omitted, (xiii) sanctions,
                    (xiv) anti-corruption laws, (xv) chapter 11 claims, and (xvi) revision of orders and
                    application to Bankruptcy Court.
                    See DIP Credit Agreement Article VI (Negative Covenants)

Events of Default   Customary and appropriate for financings of this type, including (a) failure to
Bankruptcy Rule     perform payment obligations, (b) breach of representations and warranties, (c)
4001(c)(1)(B)       failure to comply with covenants, (d) payment and cross-default with respect to
                    any Permitted Receivables Financing and material Indebtedness, (e) entry of
                    judgments not stayed, (f) certain ERISA Events, (g) invalidity of loan documents,
                    (h) orders appointing a trustee or examiner and order dismissing or converting the
                    cases to chapter 7, (i) non-compliance with the interim or final orders, (j)
                    termination of exclusivity, (k) entry of unapproved order or filing of an
                    unapproved plan, (l) orders granting relief to certain claimholders from the
                    automatic stay, (m) termination of orders granting use of prepetition collateral, (n)
                    unenforceability of interim and final order, (o) support of motions against secured
                    parties, and (p) prohibited debt payments.


                    See DIP Credit Agreement § 7.01 (Events of Default)

Carve-Out           As used in the Interim Order, the “Carve-Out” shall mean a carve-out from the
Bankruptcy Rule     DIP Superpriority Claims, the DIP Liens, claims pursuant to section 507(b) of the
4001(c)(1)(B)       Bankruptcy Code, and the Adequate Protection Liens and the Prepetition Liens, in
                    an amount equal to the sum of (i) all fees required to be paid to the Clerk of the
                    Court and to the U.S. Trustee under section 1930(a) of title 28 of the United States
                    Code plus interest at the statutory rate (without regard to the Carve-Out Trigger
                    Notice (as defined herein)); (ii) all reasonable and documented fees and expenses
                    incurred by a trustee under section 726(b) of the Bankruptcy Code, in an aggregate
                    amount not to exceed $75,000 (without regard to the Carve-Out Trigger Notice);
                    (iii) to the extent allowed by the Court at any time, whether by interim order,
                    procedural order or otherwise, all unpaid fees and expenses, other than any
                    Transaction Fees (as defined below) (the “Professional Fees”) incurred by
                    persons or firms retained by the Debtors pursuant to section 327, 328, or 363 of
                    the Bankruptcy Code or by a Committee, if any, pursuant to section 328 and 1103
                    of the Bankruptcy Code (collectively, the “Professional Persons”), at any time on
                    or before the first business day following the (a) delivery by the DIP Agent of a
                    Carve-Out Trigger Notice and (b) the Termination Date (including as a result of
                    the occurrence of an Event of Default) (such day, the “Carve-Out Trigger
                    Date”), whether allowed by the Court prior to or after the Carve-Out Trigger Date;
                    and (iv) Professional Fees incurred after the Carve-Out Trigger Date in an amount
                    not to exceed $8,000,000 (the “Post-Carve-Out Trigger Notice Cap”), in each
                    case subject to the limits imposed by the Interim Order and the Final Order. For
                    purposes of the foregoing, “Carve-Out Trigger Notice” shall mean a written
                    notice delivered by email by the DIP Agent to the Debtors’ lead restructuring
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             counsel, the U.S. Trustee, and counsel to any Committee, which notice may be
             delivered following the occurrence and during the continuation of an Event of
             Default under the DIP Loan Documents stating that the Post-Carve-Out Trigger
             Notice Cap has been invoked. For the avoidance of doubt, the incurrence or
             payment of any amounts subject to the Carve-Out shall not be restricted by the
             DIP Budget.
             The Carve-Out shall not include any restructuring, completion, sale, success,
             divestiture or other transaction fees of any investment bankers or financial
             advisors of the Debtors or a Committee, if any (such fees, “Transaction Fees”),
             provided, however, that a Transaction Fee which is earned and payable by the
             Debtors, upon consummation of an applicable transaction, pursuant to an
             engagement letter between the Debtors and the Debtors’ investment banker,
             Evercore, which is acceptable to the DIP Agent (with the consent of the requisite
             DIP Secured Parties as provided in and consistent with their respective rights
             under the DIP Loan Documents) and is approved by the Court, shall be payable
             prior to any distribution to, the DIP Secured Parties or the Prepetition Secured
             Parties, solely from any proceeds received by the Debtors resulting from such
             transaction.
             Prior to the occurrence of the Carve-Out Trigger Date, the Debtors are authorized
             (subject to the DIP Budget) to pay Professional Fees that are authorized to be paid
             in accordance with the provisions of the Bankruptcy Code and any order entered
             by the Court establishing procedures for the payment of compensation to
             Professional Persons in these Cases, as the same may be due and payable, and
             such payments shall not reduce the Carve-Out. Upon the occurrence of the
             Carve-Out Trigger Date, the Post-Carve-Out Trigger Notice Cap shall be reduced,
             dollar-for-dollar, by the amount of any Professional Fees incurred and accruing by
             the Debtors or any Committee, and paid to the applicable Professional Persons,
             following delivery of the Carve-Out Trigger Notice to the Debtors.
             Immediately upon the Carve-Out Trigger Date, and prior to the payment of any
             DIP Secured Party or Prepetition Secured Party on account of adequate protection,
             the Carve-Out Trigger Notice shall constitute a demand to the Debtors to utilize
             all cash on hand as of such date and any available cash thereafter held by any
             Debtor to fund a reserve (the “Carve-Out Reserve”) in an amount equal to the
             sum of the amounts set forth in paragraphs 8(a)(i) through 8(a)(iv) above.
             The Carve-Out Reserve shall be held in a segregated non-interest bearing account
             in trust at the DIP Agent to pay allowed Professional Fees benefiting from the
             Carve-Out as provided herein, and the Carve-Out Reserve shall be available only
             to satisfy such allowed Professional Fees benefiting from the Carve-Out until such
             Professional Fees are paid in full.
             To the extent the Carve-Out Reserve has not been reduced to zero after the
             payment in full of such obligations, it shall be used to pay the DIP Agent for the
             benefit of the DIP Secured Parties until the DIP Obligations have been
             indefeasibly paid in full in cash and all commitments under the DIP Facility have
             been terminated. Notwithstanding anything to the contrary herein, the Prepetition
             Agent and the DIP Agent, each on behalf of itself and the relevant secured parties,
             (y) shall not sweep or foreclose on the Carve-Out Reserve prior to satisfaction in
             full of all obligations benefitting from the Carve-Out as provided herein, and
             (z) shall have a security interest upon any residual interest in the Carve-Out
             Reserve, available following satisfaction in cash in full of all obligations
             benefitting from the Carve-Out as provided herein, and the priority of such liens
             on the residual interest shall be consistent with the Interim Order. Further,
             notwithstanding anything to the contrary herein, (A) the failure of the Carve-Out
             Reserve to satisfy in full the Professional Fees shall not affect the priority of the

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                       Carve-Out and (B) in no way shall the Carve-Out, the Post-Trigger Date Carve-
                       Out Amount, the Carve-Out Reserve, or any of the foregoing be construed as a cap
                       or limitation on the amount of the Professional Fees due and payable by the
                       Debtors.
                       Notwithstanding anything to the contrary herein or in the DIP Loan Documents,
                       the Carve-Out shall be senior to the DIP Obligations, the DIP Superpriority
                       Claims, the DIP Liens, the Adequate Protection Obligations, the 507(b) Claims,
                       the Adequate Protection Liens, the Prepetition Liens, and all other liens and claims
                       granted under the Interim Order, the DIP Loan Documents, or otherwise securing
                       or in respect of the DIP Obligations or the Adequate Protection Obligations.
                       The DIP Secured Parties and the Prepetition Secured Parties reserve the right to
                       review and object to any fee statement, interim application or monthly application
                       issued or filed by the Professionals Persons. Notwithstanding anything to the
                       contrary herein or in the DIP Loan Documents, the payment of any allowed
                       Professional Fees pursuant to the Carve-Out shall not, and shall not be deemed, to
                       (i) reduce any Debtor’s obligations owed to the DIP Agent, the other DIP Secured
                       Parties, the Prepetition Agent or the other Prepetition Secured Parties (whether
                       under the Interim Order or otherwise) or (ii) other than as necessary to permit the
                       payment of such allowed Professional Fees (in each case, subject to the terms of
                       and as expressly provided in the Interim Order with respect to the Carve-Out),
                       modify, alter or otherwise affect any of the liens and security interests of such
                       parties (whether granted under the Interim Order or otherwise) in the Prepetition
                       Collateral or the DIP Collateral (or their claims against the Debtors). The DIP
                       Agent, the other DIP Secured Parties, the Prepetition Agent and the other
                       Prepetition Secured Parties shall not be responsible for the direct payment or
                       reimbursement of any Professional Fees, or any fees or expenses of the U.S.
                       Trustee or Clerk of the Court (or of any other entity) incurred in connection with
                       the Cases or any Successor Case, and nothing in the Interim Order or otherwise
                       shall be construed to obligate such parties in any way to pay such compensation or
                       to reimburse such expenses.
                       See Interim Order ¶ 8

Milestones             In addition to such other milestones as may be agreed to between the Debtors and
Bankruptcy Rule        the DIP Lenders:
4001(c)(1)(B)(v) and       (a) on or before the date falling thirty (30) days after the Petition Date, the
(vi)                           Debtors shall have delivered to the Administrative Agent a draft Sale
                               Motion;
                           (b) within forty-five (45) days after the Petition Date, the Final Order shall
                               have been entered by the Bankruptcy Court;
                           (c) on or before the date falling ninety (90) days after the Petition Date, the
                               Debtors shall have delivered to the Administrative Agent an election of
                               whether it intends to pursue a Sale Process, a Plan Process or a
                               combination of both;
                           (d) if a Sale Process is elected, on or before the date falling ninety (90) days
                               after the Petition Date, the Debtors shall have filed a Sale Motion;
                           (e) if a Plan Process is elected, on or before the date falling ninety (90) days
                               after the Petition Date, the Debtors shall have filed an Acceptable Plan
                               and related disclosure statement (in each case, in form and substance
                               acceptable to the Required Lenders) with respect to any Plan Process;
                           (f) if a Sale Process is elected, on or before the date falling one hundred
                               twenty (120) days after the Petition Date, the Bankruptcy Court shall
                               have entered an order approving the Sale Motion;

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                         (g) if a Sale Process is elected, on or before the date falling one hundred
                             sixty (160) days after the Petition Date, the Bankruptcy Court shall have
                             entered an order approving each sale contemplated by any relevant Sale
                             Process following completion of the process contemplated by the bid
                             procedures described in the Sale Motion;
                         (h) if a Plan Process is elected, on or before the date falling one hundred
                             sixty (160) days after the Petition Date, the Bankruptcy Court shall have
                             entered an order confirming an Acceptable Plan; and
                         (i)    if a Sale Process is elected, on or before the date falling two hundred
                               forty (240) days after the Petition Date, the Bankruptcy Code shall have
                               entered an order confirming an Acceptable Plan.
                     See DIP Credit Agreement §5.14 (Milestone)

Limitations on Use   No proceeds of the DIP Facility, DIP Collateral, Prepetition Collateral (including
of Cash Collateral   Cash Collateral) or the Carve-Out may be used for:
Bankruptcy Rule          (a) incurring indebtedness other than as expressly provided in the Interim
4001(c)(1)(B)                Order or the DIP Budget,
                         (b) preventing, hindering, impeding, or delaying any of the Prepetition
                             Agent’s or any other Prepetition Secured Party’s enforcement or
                             realization upon, or exercise of rights in respect of, any of the Prepetition
                             Collateral or DIP Collateral other than to seek a determination that an
                             Event of Default has not occurred or is not continuing or in connection
                             with a remedies hearing,
                         (c) seeking to amend or modify any of the rights or interests granted to the
                             Prepetition Agent or any other Prepetition Secured Party under the
                             Interim Order or Prepetition Loan Documents, including seeking to use
                             Cash Collateral on a contested basis,
                         (d) asserting, commencing, or prosecuting any claims or causes of action,
                             including, without limitation, any Challenge or any other actions under
                             chapter 5 of the Bankruptcy Code (or any similar law), against the
                             Prepetition Agent or any other Prepetition Secured Party, or any of their
                             respective affiliates, agents, attorneys, advisors, professionals, officers,
                             directors, or employees, or
                         (e) asserting, joining, commencing, supporting, investigating, or prosecuting
                             any Challenge, or any other action for any claim, counterclaim, action,
                             cause of action, proceeding, application, motion, objection, defense, or
                             other contested matter seeking any order, judgment, determination, or
                             similar relief against, or adverse to the material interests of the
                             Prepetition Secured Parties, arising out of, in connection with, or relating
                             to the Prepetition Loan Documents, or the transactions contemplated
                             thereunder, including, without limitation,
                                   a.   any action arising under the Bankruptcy Code,
                                   b.   any so-called “lender liability” claims and causes of action,
                                   c.   any action with respect to the validity and extent of the
                                        Prepetition Revolving Loans or the validity, extent, perfection
                                        and priority of the Prepetition Liens,
                                   d.   any action seeking to invalidate, set aside, avoid, reduce, set off,
                                        offset, recharacterize, subordinate (whether equitable,
                                        contractual, or otherwise), recoup against, disallow, impair, raise
                                        any defenses, cross-claims, or counterclaims, or raise any other
                                        challenges under the Bankruptcy Code or any other applicable
                                        domestic or foreign law or regulation against, or with respect to,
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                                           the Prepetition Liens, in whole or in part or
                                      e.   appeal or otherwise challenge the Interim Order or the Final
                                           Order; provided that no more than $75,000 in the aggregate of
                                           the proceeds of the DIP Facility, the DIP Collateral, Prepetition
                                           Collateral, the Cash Collateral, and the Carve-Out may be used
                                           by any Committee to investigate (but not prosecute or
                                           Challenge, or initiate the prosecution of, including the
                                           preparation of any complaint or motion on account of) the
                                           Stipulations.
                         See Interim Order ¶ 7

506(c) Waiver            Subject to the entry of the Final Order, the Debtors shall be deemed to have
Bankruptcy Rule          waived any rights, benefits or causes of action under Section 506(c) of the
4001(c)(1)(B)(x)         Bankruptcy Code as they may relate to or be asserted against the DIP Secured
                         Parties, the DIP Liens, the DIP Collateral, the Prepetition Secured Parties, the
                         Prepetition Liens or the Prepetition Collateral.
                         See Interim Order ¶ 9

Liens on Avoidance       Subject to entry of the Final Order, the DIP Liens shall attach to the proceeds of
Actions                  claims and causes of action under Chapter 5 of the Bankruptcy Code.
Bankruptcy Rule          See Interim Order ¶ 2(d)
4001(c)(1)(B)(xi)

Indemnification          The DIP Loan Documents provide for customary indemnification of the DIP
Bankruptcy Rule          Agent and DIP Lenders.
4001(c)(1)(B)(ix)        See DIP Credit Agreement § 2.17(d) (Indemnification by the Loan Parties),
                         Interim Order ¶ 2

Automatic Stay           Pursuant to the Interim Order, the automatic stay imposed by section 362 of the
Waiver/Modification      Bankruptcy Code shall be modified as necessary to permit the DIP Agent and DIP
Bankruptcy Rule          Lenders to enforce all their rights under the DIP Loan Documents.
4001(c)(1)(B)(iii)       See Interim Order ¶ viii

Waiver/Modification      The Interim Order shall be sufficient and conclusive evidence of the validity,
of Applicability of      perfection and priority of the DIP Liens and the Adequate Protection Liens
Nonbankruptcy Law        without the necessity of filing or recording any financing statement, deed of trust,
Relating to              mortgage, or other instrument or document which may otherwise be required
Perfection or            under the law of any jurisdiction or the taking of any other action to validate or
Enforceability of        perfect the DIP Liens and the Adequate Protection Liens or to entitle the DIP
Liens                    Liens and the Adequate Protection Liens to the priorities granted herein.
Bankruptcy Rule          See Interim Order ¶ 5
4001(c)(1)(B)(vii)

                           Statement Regarding Significant Provisions

        9.          The Interim Order contains the following provisions (the “Significant

Provisions”) identified in the Complex Case Procedures:6


6
 Pursuant to the Complex Case Procedures, ¶ 21, effective June 21, 2019, Debtor(s)’s counsel should
highlight provisions of proposed orders issued under 11 U.S.C. §§ 363 or 364 that contain the following: a.
Sale or plan confirmation milestones; b. Cross-collateralization; c. Roll ups; d. Liens on avoidance actions
or proceeds of avoidance actions; e. Default provisions and remedies; f. Releases of claim against lender or
                                                    20
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                  (a)      Sale or Plan Confirmation Milestones. The DIP Credit
                           Agreement includes milestones of 120 days and 160 days after the
                           petition date, respectively, for the entry of orders, in the
                           alternative, approving each sale contemplated by any relevant Sale
                           Process, or confirming an Acceptable Plan with respect to any Plan
                           Process (each as defined in the DIP Credit Agreement). See DIP
                           Credit Agreement § [5.14].

                  (b)      Cross-Collateralization or Adequate Protection. The Interim
                           Order does not provide for cross-collateralization of any
                           prepetition credit facility. The Interim Order provides for adequate
                           protection in the form of adequate protection liens and
                           superpriority claims against the Debtors, but limited to the extent
                           of for any diminution in the value of respective interests in the
                           value of the Prepetition Collateral. See Interim Order ¶ [4].

                  (c)      Roll Ups. The DIP Facility will be used to refinance and pay down
                           all outstanding Prepetition Revolving Loans. See Interim Order ¶
                           (i).

                  (d)      Liens on Avoidance Actions or Proceeds of Avoidance Actions.
                           The Interim Order does not provide for liens on Avoidance actions,
                           but does provide for liens and superpriority claims on the proceeds
                           of Avoidance Actions upon entry of the Final Order. See Order, ¶
                           2(g).

                  (e)      Default Provisions and Remedies. The DIP Loan Documents
                           contain customary Events of Default provisions and will allow for
                           remedies by the DIP Agent upon direction by the Required DIP
                           Lenders following the occurrence of an Event of Default and
                           subject to the Default Notice Period upon the Termination Date.
                           See DIP Credit Agreement § [7], Interim Order ¶ 14.

                  (f)      Release of Claim Against Lender or Others. [The Interim Order
                           provides for the unconditional release and discharge of each of the
                           DIP Secured Parties, Prepetition Secured Parties and all Affiliates
                           from any and all obligations and liabilities to the DIP Loan Parties.
                           See Interim Order, ¶ [F(v)].

                  (g)      Limitations on Fees for Advisors to Official Committees. The
                           Interim Order does not provide for any limitations on fees owed to
                           advisors to any official committee.


others; g. Limitations on fees for advisors to official committees; h. Priming liens; i. Any other provision
that limits the ability of estate fiduciaries to fulfill their duties under the Bankruptcy Code and applicable
law.

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               (h)     Priming Liens. The Interim Order does not provide for any non-
                       consensual priming liens. The Interim Order, which has been
                       consented to by a majority of the lenders under the Prepetition
                       Revolving Credit Facility, provides the DIP Agent for its own
                       benefit and the benefit of the DIP Lenders first priority senior
                       priming security interests in and liens upon the Prepetition
                       Collateral. See Interim Order, ¶ 2(e); DIP Credit Agreement §
                       [6.02].

       10.     The inclusion of the foregoing Significant Provisions are necessary (such

explanation being required by Complex Case Procedures ¶¶ 21(a)–(i), which is made

applicable by Bankruptcy Local Rule 1075-1) to obtain (a) the DIP Lenders’ agreement

to provide the DIP Facility on the terms and conditions reflected in the DIP Credit

Agreement, (b) the Prepetition Secured Parties’ consent to the Debtors’ use of Cash

Collateral during these Chapter 11 cases, and (c) the Prepetition Secured Parties’ consent

to the priming of the Prepetition Revolving Loans, which the Debtors believe (for the

reasons set forth herein) will benefit all parties in interest over the remainder of the

Debtors’ Chapter 11 cases. As set forth herein, the DIP Facility is critical to the Debtors’

successful reorganization efforts and granting the relief requested pursuant to the

Proposed Orders is critical to the continued operation of the Debtors’ businesses and will

maximize the value of the Debtors’ estates for all parties in interest.

       11.     In light of the foregoing, the Debtors submit that the Significant

Provisions are appropriate under the facts and circumstances of these Chapter 11 cases.

Accordingly, the Significant Provisions in the Proposed Orders should be approved.

                                        Background

       12.     The Debtors are a leading public food and beverage company and the

largest processor and direct-to-store distributor of fresh fluid milk and other dairy and

dairy case products in the United States. The Debtors manufacture, market, and distribute

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a wide variety of branded and private label dairy and dairy case products, including fluid

milk, ice cream, cultured dairy products, creamers, ice cream mix, and other dairy

products to retailers, distributors, foodservice outlets, educational institutions, and

governmental entities across the United States.

       13.     On the date hereof (the “Petition Date”), each of the Debtors commenced

the above-captioned Chapter 11 Cases by filing with the Court a voluntary petition for

relief under chapter 11 of the Bankruptcy Code.

       14.     The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. As of the date of this Motion, no trustee, examiner or statutory

committee has been appointed in these Chapter 11 Cases.

       15.     Additional information regarding the circumstances leading to the

commencement of these Chapter 11 Cases and information regarding the Debtors’

business and capital structure is set forth in detail in the First Day Declaration and the Yi

Declaration, both filed contemporaneously herewith and incorporated by reference.

    A. The Debtors’ Prepetition Capital Structure

       16.     The Debtors’ have approximately $189 in secured indebtedness under the

Prepetition Revolving Credit Facility. Certain of the Debtors are party to a $450 million

prepetition receivables facility (the “Securitization Facility”), pursuant to which the

Debtors sell trade receivables to two non-Debtor wholly owned, bankruptcy remote

special purpose vehicle subsidiaries (the “Sellers”), which are a significant source of

liquidity for the Debtors. Additionally the Debtors have approximately $700 in aggregate

principal amount of senior unsecured notes as described in paragraph 47 below (the


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“2023 Notes”). These and other amounts are summarized in the following table and

detailed below.7

                          Obligation                 Priority        Loans             Letters of
                                                     Against         Outstanding8      Credit
                                                     Debtors                           Outstanding
        Prepetition Revolving Credit Facility           Secured      $188.8 million    $0.0
        Securitization Facility                        Secured /     $180 million      $195.2
                                                       True Sale                       million
        2023 Notes                                       Senior      $700 million      N/A
                                                      Unsecured

          Prepetition Revolving Credit Facility

         17.      On February 22, 2019, the DIP Borrower, as borrower, and certain of the

other Debtors, as guarantors, entered the Prepetition Credit Agreement with Rabobank, as

administrative agent and collateral agent, and the Prepetition Lenders, pursuant to which

the Prepetition Lenders provided a senior secured revolving borrowing base credit facility

with a maximum facility amount of up to $265 million. On August 27, 2019 Dean Foods

exercised its right to increase the aggregate principal amount of the commitments under

the Prepetition Credit Agreement to $350 million. A portion of the Prepetition Revolving

Credit Facility is available for the issuance of up to $25 million of standby letters of

credit, although no letters of credit were outstanding as of the Petition Date. Loans

outstanding under the Prepetition Revolving Credit Facility bear interest, at borrowers’

option, at either: (i) the Base Rate (as defined in the RFC Credit Agreement) or (ii) the

Adjusted Eurodollar Rate (as defined in the RFC Credit Agreement), plus a margin ranging

between 1.25% and 1.75% (in the case of Base Rate loans) or 2.25% and 2.75% (in the



7
 The table is for illustration and summary purposes only. The Debtors do not admit to the validity, priority
and/or allowance of any claim, lien or interest in property and reserve rights in relation to such issues.
8
 The amounts tabulated above reflect the outstanding principal amounts owed, and do not include accrued
and unpaid interest, fees, premiums or other related claims.

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case of Eurodollar Rate loans), in each case based on Dean Foods’ total net leverage ratio

at such time.

        18.     Availability under the Credit Facility is subject to a borrowing base equal

to 65% of the appraised value of certain of our real property and equipment. The

Prepetition Revolving Credit Facility has a stated maturity of February 22, 2024. As of

November 8, 2019, Dean Foods had $188.8 million outstanding borrowings under the

Prepetition Revolving Credit Facility.

        19.     The Prepetition Revolving Credit Facility can also be used to secure

designated hedges entered into with any lenders. As of November 11, 2019, the Debtors

aggregate notional amount of all such hedges was $33.6 million.

    B. Securitization Facility

        20.     Dean Foods’ Securitization Facility is a $450 million receivables

securitization facility pursuant to which certain subsidiaries sell their accounts receivable

to the Sellers, two wholly owned, bankruptcy-remote entities. The entities then transfer

the receivables to third-party asset-backed commercial paper conduits sponsored by

major financial institutions.

        21.     As of November 8, 2019, Dean Foods had the ability to borrow up to $5.4

million of the total commitment amount under the Securitization Facility. In addition, as

of November 8, 2019, an aggregate of $180 million in loans and $195.2 in undrawn

letters of credit were outstanding, and the remaining available borrowing capacity was $5.4

million. The receivables securitization facility bears interest at a variable rate based upon

commercial paper and one-month LIBO rates plus an applicable margin based on our

total net leverage ratio, which rate was 3.72% as of close of business on November 8,

2019.
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       22.     The Debtors are currently seeking to amend and continue the

Securitization Facility post-petition, as described in greater detail in the Securitization

Motion. Absent the relief requested in the Securitization Motion, the Securitization

Facility would automatically terminate and begin to wind down.

    C. Prepetition Senior Unsecured Notes

       23.     On February 25, 2015, Dean Foods issued the 2023 Notes, $700 million in

aggregate principal amount of 6.50% senior notes due 2023 at an issue price of 100% of

the principal amount of the 2023 Notes in a private placement for resale to “qualified

institutional buyers” as defined in Rule 144A under the Securities Act of 1933, as

amended (the “Securities Act”), and in offshore transactions pursuant to Regulation S

under the Securities Act. The 2023 Notes are senior unsecured obligations. The 2023

Notes are fully and unconditionally guaranteed on a senior unsecured basis, jointly and

severally, by the same subsidiaries that guarantee Dean Foods’ obligations under the

Prepetition Credit Facility. The 2023 Notes mature on March 15, 2023 and bear interest

at an annual rate of 6.50%, which is payable semi-annually in arrears in March and

September of each year. The carrying value under the 2023 Notes at December 31, 2018

was $695.4 million, net of unamortized debt issuance costs of $4.6 million.

    D. The Debtors’ Immediate Liquidity Needs

       24.     Dean Foods commenced the Chapter 11 Cases to preserve and maximize

its enterprise value for the benefit of its stakeholders in the face of significant industry

headwinds and an impending liquidity crisis that had built over the preceding year. In

February 2019, the Debtors retained Evercore to assist with a broad evaluation of

potential strategic alternatives, including the disposition of certain assets, the formation

of new joint ventures, a strategic business combination, a sale of the enterprise, or other
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options to re-energize the Debtors’ stand-alone business. While Evercore and other

advisors spent months exploring these options, a series of industry, operational, and

financial factors, all explained in greater detail in the First Day Declaration, aggregated to

prevent such efforts from sufficiently altering the Debtors’ financial outlook.

       25.     The Debtors need an immediate capital infusion to operate their business

post-petition and to fund these Chapter 11 Cases. As of the Petition Date, the Debtors

lack sufficient funds to operate their enterprise and continue paying their debts as they

come due, and they do not have readily available sources of additional financing. The

Debtors’ forecast that they will be unable to generate sufficient levels of operating cash

flows in the ordinary course of business to cover either their operating costs going

forward or the projected restructuring costs of the Chapter 11 Cases without the DIP

Facility and amended Securitization Facility.

    E. The Debtors’ Restructuring Efforts

       26.     The Debtors commenced the Chapter 11 Cases to preserve and maximize

their enterprise value for the benefit of their stakeholders in the face of significant

industry headwinds and an impending liquidity crisis. A multi-year trend of shrinking

margins and increasing competition was exacerbated by (i) loss of significant volume

from two major customers, and (ii) a series of well-intentioned cost-savings and strategic

initiatives throughout 2018 and 2019 that fell short of the anticipated benefits and drove

increased customer loss and margin compression.

       27.     In February 2019, the Debtors refinanced their then outstanding secured

revolving facility and amended and restated its securitization facility to remove certain

financial covenants it could no longer meet.        This reduced the available revolving


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borrower base from $450 million to $175 million. Accessibility in both cases was subject

to compliance with financial covenants.

       28.     As noted above, it was also in February 2019 that the Debtors retained

Evercore to assist with a broad evaluation of potential strategic alternatives, including the

disposition of certain assets, the formation of new joint ventures, strategic business

combinations, sale of the enterprise, or other options to re-energize the Debtors’ stand-

alone business. It was ultimately determined that these options could not be pursued for a

variety of reasons, including potential contingent liabilities that Dean Foods faces related

to the underfunded status of certain multi-employer pension plans in which is participates.

In particular and by far the most significant, Dean Foods faces an estimated potential,

contingent liability of over $700 million in the event it withdraws from Central States

Southeast & Southwest Areas Pension. Such potential liabilities significantly impaired

Dean Foods’ ability to pursue any strategic transactions with third parties outside of a

bankruptcy proceeding.

       29.     Liquidity remained tight, and on June 28, 2019, Dean Foods returned to it

Prepetition Revolving Lenders and elected to appraise additional real estate for inclusion

in the borrowing base under the Prepetition Revolving Credit Agreement in order to

increase the borrowing base from $175 million to the facility maximum of $265 million.

       30.     On August 27, 2019, Dean Foods entered into further supplements to the

Credit Agreement pursuant to which the Dean Foods elected to exercise its rights to

increase the aggregate principal amount of the commitments under the Credit Agreement

by $85 million to an aggregate principal amount of $350 million.




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        31.      In August 2019, as Dean Foods reported its second quarter results it

reduced its internal full year adjusted operating income forecast and reported that it

would be a net user of cash for the full year 2019. Eric Beringause, the current president

and chief executive officer joined Dean Foods on July 29, 2019, and engaged in a

renewed effort to evaluate Dean Foods’ business plan and strategy.

        32.      By early October 2019, the Debtors saw a sharp decline in preliminary

third quarter 2019 results and realized they faced a financial outlook that was

deteriorating significantly more rapidly than prior forecasts, and with the assistance of

their various advisors, determined that it would be necessary to seek Chapter 11 relief to

manage liquidity and prevent potentially ruinous customer flight.

        33.      As discussed in more detail in the First Day Declaration, the Debtors

provide a critical daily staple product. Any shortfalls in the Debtors’ fulfillment means

that school lunch rooms, coffee shops, and grocery stores across America could face

weeks without cartons for their lunch trays, milk for their coffee, or gallons for their

refrigerators.   The Debtors believe their customers would not accept such risk of

instability in their supply, and would likely rapidly seek a replacement vendor.

Accordingly, the Debtors and their advisors concluded that seeking the protections of

Chapter 11 was the most likely option for obtaining the necessary funding to sustain

operations and preventing any disruption with their vendors and customers.

        34.      The Debtors and their advisors engaged in the exploration of options for

debtor-in-possession financing with a proposed DIP facility from certain of its prepetition

secured lenders.




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       35.      The debtor-in-possession financing enables the Debtors to explore a plan

or a potential strategic transaction including with the Debtors’ long-time commercial

partner and largest single raw milk vendor, Dairy Farmers of America (“DFA”). The

Debtors have engaged in advanced discussions with DFA with regard to its role as a

potential stalking horse bidder for the purchase of substantially all of the Debtors’ assets

pursuant to section 363 of the Bankruptcy Code. The Debtors intend to continue and

expand the 363 sale marketing process they began prior to the Petition Date.

    F. The Debtors Efforts to Obtain Financing

             a. The Marketing Process

       36.      Evercore commenced a marketing process for possible DIP financing

alternatives on October 21, 2019 with a target of a potential chapter 11 filing on

November 12, 2019. Evercore solicited debtor-in-possession financing proposals that

could provide $250 million to $300 million of new money, assuming the Securitization

Facility would remain available post-petition. Evercore indicated openness to a variety

of structures, including senior lien facilities that would prime the Prepetition Revolving

Credit Facility and financing that would refinance and replace the Prepetition Revolving

Credit Facility and/or the Securitization Facility.

       37.      As part of these efforts, Evercore contacted 22 potential third-party

lenders, consisting of banks and alternative lenders. Evercore separately solicited debtor-

in-possession financing proposals from the existing secured lenders, certain large

noteholders through their advisors, and DFA. Of the potential third-party lenders, 15

executed non-disclosure agreements and 14 received access to non-public information,

including DIP marketing materials and access to a virtual dataroom with additional


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financial information. Evercore and the Debtors had follow-up diligence calls with these

potential lenders as requested.

       38.     In total, three non-binding debtor-in-possession financing proposals were

received from potential third-party lenders. Although Evercore explored options for new

money financing on an unsecured, junior-lien, or pari passu basis, none of these third-

party financing sources indicated a willingness to provide such financing to the Debtors.

       39.     In general, as described in more detail in the Yi Declaration, each of the

third-party proposals had significant shortcomings and was subject to significant

execution risk given the requirement for further due diligence, especially in light of the

tight timetable. Accordingly, the Debtors focused their efforts on negotiating financing

with certain of their Prepetition Revolving Lenders and Securitization Facility providers.

       40.     On November 1, 2019, the Debtors received a DIP facility proposal from

Rabobank, a lender and administrative agent under each of the Prepetition Revolving

Credit Facility and the Prepetition Securitization Facility. The Rabobank proposal was a

comprehensive financing proposal to address both the need for incremental liquidity and

the automatic termination of the Securitization Facility upon commencement of chapter

11 proceedings, and provided for (a) a new money financing in the form of a revolving

facility and (b) the continuation of the Securitization Facility.

       41.     The Debtors determined that, as compared to the third-party proposals and

the PNC proposal, the Rabobank proposal had the advantage of offering a comprehensive

financing package upon terms and at an all-in cost that compared favorably to the other

proposals. Importantly, Rabobank’s proposed securitization facility terms were no less

favorable in terms of pricing and structure than the PNC proposal. And none of the third-


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party debtor-in-possession financing proposals combined with the PNC proposal to make

up a more attractive package than the Rabobank proposal. Accordingly, the Debtors

focused their efforts primarily on negotiating the financing proposed by Rabobank, which

ultimately took the form of the DIP Facility and the amended Securitization Facility.

                                        Basis for Relief

    A. The Debtors Should Be Authorized to Obtain Post-Petition Financing on a
       Senior Secured and Superpriority Basis

          i.    The Debtors Exercised Sound and Reasonable Business Judgment in
                Deciding to Enter into the DIP Facility

        42.     Provided that an agreement to obtain post-petition credit is consistent with

the provisions of, and policies underlying, the Bankruptcy Code, courts grant a debtor

considerable deference in exercising its sound business judgment in obtaining such credit.

See, e.g., In re Exco Resources, Inc. No. 18-30155 (D.I. 97) (Bankr. S.D. Tex. Jan. 18,

2019) (order approving postpetition financing as exercise of debtors’ business judgment);

In re N. Bay Gen. Hosp., Inc., No. 08-20368 (Bankr. S.D. Tex. July 11, 2008) (order

approving postpetition financing as exercise of debtors’ business judgment); In re L.A.

Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always

defer to the business judgment of a debtor in the selection of the lender.”); In re Ames

Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect

that the court’s discretion under section 364 is to be utilized on grounds that permit

reasonable business judgment to be exercised so long as the financing agreement does not

contain terms that leverage the bankruptcy process and powers or its purpose is not so

much to benefit the estate as it is to benefit a party-in-interest.”).

        43.     To determine whether a debtor has met the business judgment standard, a

court need only “examine whether a reasonable business person would make a similar
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decision under similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D.

Del. 2006); see also In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah

1981) (noting that courts should not second guess a debtor’s business decision when that

decision involves “a business judgment made in good faith, upon a reasonable basis, and

within the scope of [the debtor’s] authority under the [Bankruptcy] Code”).

       44.     Moreover, courts consider the terms in light of the relative circumstances

of both the debtor and the potential lender to determine whether the terms of a

postpetition financing arrangement are fair and reasonable. In re Farmland Indus., Inc.,

294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see also Unsecured Creditors’ Comm. Mobil

Oil Corp. v. First Nat’l Bank & Tr. Co. (In re Ellingsen MacLean Oil Co., Inc.), 65 B.R.

358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into a “hard”

bargain to acquire funds for its reorganization).

       45.     Courts emphasize that the business judgment rule is not an onerous

standard and may be satisfied “as long as the proposed action appears to enhance the

debtor’s estate.” Crystalin, LLC v. Selma Props., Inc. (In re Crystalin, LLC), 293 B.R.

455, 463–64 (B.A.P. 8th Cir. 2003) (quoting Four B. Corp. v. Food Barn Stores, Inc. (In

re Food Barn Stores, Inc.), 107 F.3d 558, 566 n.16 (8th Cir. 1997) (emphasis in original,

internal alterations, and quotations omitted)). Courts require only that the debtors “show

that a sound business purpose justifies such actions.” Dai-Ichi Kangyo Bank, Ltd. v.

Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R.

147, 153 (D. Del. 1999) (citations omitted); see also In re Phx. Steel Corp., 82 B.R. 334,

335–36 (Bankr. D. Del. 1987).




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       46.     Further, in determining whether the Debtors have exercised sound

business judgment in deciding to enter into the DIP Loan Documents, the Court may

appropriately take into consideration non-economic benefits to the Debtors offered by a

proposed post-petition facility. For example, in In re ION Media Networks, Inc., No. 09-

13125 (JMP), 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009), the Bankruptcy

Court for the Southern District of New York observed that:

               Although all parties, including the Debtors and the
               Committee, are naturally motivated to obtain financing on
               the best possible terms, a business decision to obtain credit
               from a particular lender is almost never based purely on
               economic terms. Relevant features of the financing must be
               evaluated, including non-economic elements such as the
               timing and certainty of closing, the impact on creditor
               constituencies and the likelihood of a successful
               reorganization. This is particularly true in a bankruptcy
               setting where cooperation and establishing alliances with
               creditor groups can be a vital part of building support for a
               restructuring that ultimately may lead to a confirmable
               reorganization plan. That which helps to foster consensus
               may be preferable to a notionally better transaction that
               carries the risk of promoting unwanted conflict. Id.

       47.     The DIP Facility is critical to the Debtors’ ability to fund operations and

pay the administrative costs of these Chapter 11 Cases, and also provides the Debtors

with sufficient liquidity (in combination with the amended Securitization Facility) to

operate their business without creating a value-destructive “priming” or valuation dispute

at the outset of these Chapter 11 Cases or presenting significant execution or funding risk.

See, Yi Decl. ¶ 43. In addition to providing the Debtors with incremental liquidity, the

DIP Facility will provide the Debtors with access to the use of cash collateral on a

consensual basis, and will allow the Debtors to fund their business in the ordinary course,

which will ensure continued, uninterrupted operations, preserving the value of the estate


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for the benefit of all stakeholders. Id. Accordingly, the Court should authorize the

Debtors’ entry into the DIP Loan Documents as it is a reasonable exercise of the Debtors’

business judgment.

         ii.   The Debtors Meet the Conditions Necessary Under Section 364(c) and (d)
               to Obtain Post-Petition Financing on a Senior Secured and Superpriority
               Basis

       48.     The Debtors propose to obtain financing under the DIP Facility by

providing the DIP Secured Parties superpriority claims and liens pursuant to section

364(c) and (d)(1) of the Bankruptcy Code. Specifically, the Debtors propose to provide

to the DIP Secured Parties first priority liens on substantially all of the Debtors’ assets

and administrative expense claims in the Chapter 11 Cases with priority over all other

claims (subject in each case only to the Permitted Prior Liens and the Carve-Out).

       49.     The Debtors meet the requirements for relief under section 364(c) of the

Bankruptcy Code, which permits a debtor, with Court authorization, to obtain post-

petition financing and, in return, to grant superpriority administrative status and liens on

its property. Specifically, section 364(c) of the Bankruptcy Code provides as follows:

               If the trustee is unable to obtain unsecured credit allowable
               under section 503(b)(1) of this title as an administrative
               expense, the court, after notice and a hearing, may
               authorize the obtaining of credit or the incurring of debt––

               (a)     with priority over any or all administrative expenses
               of the kind specified in section 503(b) or 507(b) of this title;

               (b)    secured by a lien on property of the estate that is not
               otherwise subject to a lien; or

               (c)      secured by a junior lien on property of the estate
               that is subject to a lien.

11 U.S.C. § 364(c). In evaluating proposed post-petition financing under section 364(c)

of the Bankruptcy Code, courts perform a qualitative analysis and consider whether
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(a) unencumbered credit or alternative financing without superpriority status is available

to the debtor, (b) the credit transactions are necessary to preserve assets of the estate, and

(c) the terms of the credit agreement are fair, reasonable, and adequate. See, e.g., In re

Los Angeles Dodgers LLC, 457 B.R. 308, 312 (Bankr. D. Del. 2011); In re Aqua Assoc.,

123 B.R. 192, 195–99 (Bankr. E.D. Pa. 1991); In re St. Mary Hosp., 86 B.R. 393, 401–02

(Bankr. E.D. Pa. 1988); In re Crouse Group, Inc., 71 B.R. 544, 549–51 (Bankr. E.D. Pa.

1987); see also Bland v. Farmworker Creditors, 308 B.R. 109, 113–14 (S.D. Ga. 2003);

In re Ames Dep’t Stores, Inc., 115 B.R. 34, 37–40 (Bankr. S.D.N.Y. 1990).

       50.     Further, the Debtors meet the requirements for relief under section 364(d)

of the Bankruptcy Code, which permits a debtor, with Court authorization, to obtain post-

petition financing secured by liens that are senior to prepetition liens. Specifically,

section 364(d) of the Bankruptcy Code provides as follows:

               (a)      The court, after notice and a hearing, may authorize
               the obtaining of credit or the incurring of debt secured by a
               senior or equal lien on property of the estate that is subject
               to a lien only if:

                       (i)    the trustee is unable to obtain such credit
                       otherwise; and

                       (ii)   there is adequate protection of the interest of
                       the holder of the lien on the property of the estate
                       on which such senior or equal lien is proposed to be
                       granted.

               (b)    In any hearing under this subsection, the trustee has
               the burden of proof on the issue of adequate protection.

11 U.S.C. § 364(d). Accordingly, the Debtors may incur “priming” liens under the DIP

Facility if either (a) the Prepetition Secured Parties have consented or (b) the Prepetition

Secured Parties’ interests in collateral are adequately protected.



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        51.      Here, the Debtors have amply satisfied the necessary conditions under

section 364(c) and (d) of the Bankruptcy Code for authority to enter into the DIP Loan

Documents.       Given the circumstances, the Debtors could not obtain credit on an

unsecured, junior secured, or administrative expense basis. For all the reasons discussed

further below, the Debtors respectfully submit that the Court should grant the Debtors’

request to enter into the DIP Facility pursuant to section 364(c) and (d) of the Bankruptcy

Code.

              a. The Debtors Are Unable to Obtain Financing on More Favorable Terms
                 Than the DIP Facility

        52.      In order to satisfy this test, a debtor need only demonstrate “by a good

faith effort that credit was not available without” the protections afforded to potential

lenders by section 364(c) or 364(d) of the Bankruptcy Code. In re Snowshoe Co., Inc.,

789 F.2d 1085, 1088 (4th Cir. 1986) (“The statute imposes no duty to seek credit from

every possible lender before concluding that such credit is unavailable”); Pearl-Phil

GMT (Far E.) Ltd. v. Caldor Corp., 266 B.R. 575, 584 (S.D.N.Y. 2001) (superpriority

administrative expenses authorized where debtor could not obtain credit as an

administrative expense); In re Ames Dep’t Stores, Inc., 115 B.R. at 40 (approving

financing facility and holding that debtor made reasonable efforts to satisfy the standards

of section 364(c), to obtain less onerous terms where debtor approached four lending

institutions, was rejected by two and selected the least onerous financing option from the

remaining two lenders); see also In re Plabell Rubber Prods., Inc., 137 B.R. 897, 900

(Bankr. N.D. Ohio 1992). This is especially true where time is of the essence. See In re

Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa. 1987).



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       53.     Moreover, in circumstances where only a few lenders likely can or will

extend the necessary credit to a debtor on an unsecured or administrative priority basis,

“it would be unrealistic and unnecessary to require [the debtor] to conduct such an

exhaustive search for financing.” Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga.

1988), aff’d sub nom. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4

(N.D. Ga. 1989). See also In re Snowshoe Co., 789 F.2d at 1088 (demonstrating that

credit was unavailable absent the senior lien by establishment of unsuccessful contact

with other financial institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R.

660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused to

grant unsecured loans was sufficient to support conclusion that the requirements of

section 364 of the Bankruptcy Code were met); In re Ames Dep’t Stores, Inc., 115 B.R.

at37–39 (debtor must show that it made reasonable efforts to seek other sources of

financing under section 364(a) and (b) of the Bankruptcy Code).

       54.     As described more fully above and in the Yi Declaration, the Debtors

sought financing from multiple market sources and engaged in extensive and good faith

negotiations with the DIP Lenders to obtain the best financing terms available. See Yi

Decl. ¶ 36. However, due to the uncertainties related to the Chapter 11 process, no

lenders were willing to provide post-petition financing to meet the Debtors’ immediate

cash needs in the timing required on an unsecured, junior secured, or administrative

priority basis, or otherwise on terms better than those under the DIP Loan Documents.

Accordingly, the Debtors submit that they have met the standard for obtaining the

proposed DIP Facility.




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             b. The DIP Facility Is Necessary to Preserve the Value of the Debtors’
                Estates

       55.      The Debtors, as debtors in possession, have a fiduciary duty to protect and

maximize their estates’ assets. See In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d

Cir. 2004). The Debtors’ immediate access to post-petition financing is essential to their

ability to effectively carry out that duty. The Debtors currently have $48.8 million of

unrestricted cash on hand. See Yi Decl. ¶ 10. The Debtors need an immediate capital

infusion to operate their business post-petition and to fund these Chapter 11 Cases. As of

the Petition Date, the Debtors lack sufficient funds to operate their enterprise and

continue paying their debts as they come due, and they do not have readily available

sources of additional financing.     The Debtors’ forecast that they will be unable to

generate sufficient levels of operating cash flows in the ordinary course of business to

cover either their operating costs going forward or the projected restructuring costs of the

Chapter 11 Cases without the DIP Facility and amended Securitization Facility. Id. The

liquidity to be provided by the DIP Facility and amended Securitization Facility, together

with the use of Cash Collateral, will enable the Debtors to fund their operations during

the course of the Chapter 11 Cases as they pursue restructuring alternatives and to

preserve and maximize the value of their estates for the benefit of all parties in interest.

See Yi Decl. ¶ 23.

             The Terms of the DIP Facility and the Proposed Adequate Protection Are Fair,
             Reasonable, and Adequate Under the Circumstances

       56.      In considering whether the terms of post-petition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the

debtor and the potential lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886

(Bankr. W.D. Mo. 2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First
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Nat’l Bank & Trust Co. (In re Ellingsen MacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich.

1986) (a debtor may have to enter into hard bargains to acquire funds).               The

appropriateness of a proposed financing facility should also be considered in light of

current market conditions. See Transcript of Record at 740:4–6, In re Lyondell Chem.

Co., No. 09-10023 (REG) (Bankr. S.D.N.Y. Feb. 27, 2009) (“[B]y reason of present

market conditions, as disappointing as the [debtor-in-possession financing] pricing terms

are, I find the provisions [of the financing] reasonable here and now.”).

       57.     As set forth in the Yi Declaration, the Debtors believe that the fees to be

paid under the DIP Facility are appropriate, particularly in light of the circumstances of

the Chapter 11 Cases. See Yi Decl. ¶ 38. All of the terms of the DIP Facility were

extensively negotiated by the Debtors and their advisors to ensure that the terms were as

favorable to the Debtors as possible under the circumstances, and the Debtors believe that

such terms represent fair consideration for the critical financing being provided by the

DIP Lenders. Id. Accordingly, the Court should authorize the Debtors to pay the fees

provided under the DIP Loan Documents in connection with the DIP Facility.

       58.     Although the Bankruptcy Code does not define “adequate protection,”

section 361 of the Bankruptcy Code delineates a non-exhaustive list of the available types

of adequate protection, which include periodic cash payments, additional liens,

replacement liens, and the “indubitable equivalent of such entity’s interest in such

property.” 11 U.S.C. § 361. The focus of the requirement is to protect a secured creditor

from the diminution in the value of its interest in the particular collateral during the

period of use. See In re Swedeland Dev. Group, Inc., 16 F.3d 552, 564 (3d Cir. 1994)

(“The whole purpose of adequate protection for a creditor is to insure that the creditor


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receives the value for which he bargained prebankruptcy.”) (internal citations omitted).

When priming of liens is sought under section 364(d) of the Bankruptcy Code, the courts

also examine whether the prepetition secured creditors are being provided adequate

protection for the value of their liens. See In re Utah 7000, LLC, No. 08-21869, 2008

WL 2654919, at *3 (Bankr. D. Utah July 3, 2008); In re Beker Indus. Corp., 58 B.R. 725,

737 (Bankr. S.D.N.Y. 1986).

       59.     As described more fully above, the Debtors propose to provide a variety of

forms of adequate protection to protect the interests of the Prepetition Secured Parties in

the Debtors’ property from any diminution in value of the Prepetition Collateral

(including Cash Collateral) resulting from the use of the Cash Collateral by the Debtors

and the imposition of the automatic stay, subject, in each case, to the liens and claims of

the DIP Lenders, the Permitted Prior Liens, and the Carve-Out.           Importantly, the

Prepetition Secured Parties have consented to be primed by the DIP Loans and to the

adequate protection being provided.

       60.     As a result of these financing and marketing efforts, the Debtors have

initiated these proceedings with a proposed DIP facility from certain of its prepetition

secured lenders and negotiations with DFA for sale of substantially all of the Debtors’

assets pursuant to section 363 of the Bankruptcy Code. See Yi Decl. ¶ 20 Courts have

held enhancement of collateral is a critical component of adequate protection and have

considered “whether the value of the debtor’s property will increase as a result of the”

use of the collateral. In re 495 Cent. Park Ave. Corp., 136 B.R. 626 (Bankr. S.D.N.Y.

1992) (finding that improvements to collateral financed by post-petition financing

proceeds would improve collateral value in excess of loans and, therefore, provided


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adequate protection); see In re Hubbard Power & Light, 202 B.R. 680 (Bankr. E.D.N.Y.

1996) (approving post-petition financing to be used, in part, to fund cleanup costs of

encumbered property anticipated to improve the value of the collateral, thereby serving

the goal of adequate protection). The Debtors, therefore, further submit that the adequate

protection as described herein is fair and reasonable, and is sufficient to satisfy the

requirements of section 364(d)(1)(B) of the Bankruptcy Code.

        iii.   The Refinancing of a Portion of the Prepetition Secured Debt Is
               Appropriate

       61.     The negotiations with the DIP Lenders regarding the DIP Facilities were

vigorous and were conducted in good faith and at arms’ length. See, Yi Decl. ¶ 37. The

roll-up of the Prepetition Revolving Credit Facility with the DIP Roll-Up Loans is

appropriate for a number of reasons. See, Yi Decl. ¶ 41. The DIP Lenders specifically

negotiated for the roll-up in the context of their commitment to provide the DIP Facility

and amended Securitization Facility on the terms described herein. Id. In light of the

continued existence of the challenge rights, the likely requirements to provide adequate

protection to the Prepetition Revolving Credit Facility and the lack of meaningful

alternatives, the roll-up of the Prepetition Revolving Credit Facility is appropriate under

the circumstances. Id.

       62.     Roll-ups and repayments of prepetition debt, such as the Prepetition Debt

Refinancing—which remain subject to the challenge rights—are a common feature of

debtor-in-possession financings and have been approved in a variety of cases. See, In re

Bristow Grp., Inc., No. 19-32713 (D.I. 582) (Bankr. S.D. Tex. August 21, 2019)

(approving repayment of prepetition secured notes under debtor-in-possession financing

facility); In re Legacy Reserves, Inc., No. 19-33395 (D.I. 86) (Bankr. S.D. Tex. June 20,

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2019) (approving of a cashless “roll-up” for the benefit of lenders under debtor-in-

possession financing facility); In re Exco Res, Inc. No. 18-30155 (D.I. 97) (Bankr. Jan.

18, 2019) (approving the “roll-up” of prepetition loans under debtor-in-possession

financing facility); In re BCBG Max Azria Global Holdings, LLC, Case No. 17-10466

(SCC) (Bankr. S.D.N.Y. Mar. 2, 2017) (approving roll-up of $35 million outstanding

revolving obligations); See e.g., In re Vanguard Nat. Res., Inc. Case No. 19-31786 (DRJ)

(Bankr. S.D. Tex. Apr. 30, 2019) (authorizing $130 million DIP that included $65 million

roll up of prepetition debt); In re Westmoreland Coal Co. Case No. 18-35672 (DRJ)

(Bankr. S.D. Tex. Nov. 15, 2018) (authorizing $110 million DIP that included $90

million to refinance prepetition debt); In re Gastar Expl., Inc., No. 18-36057 (MI) (Bankr.

S.D. Tex. Nov. 26, 2018) (authorizing approximately $383 million DIP that included

repayment of approximately $283 million of prepetition debt); In re Shoreline Energy

LLC, No. 16-35571 (DRJ) (Bankr. S.D. Tex. Dec. 16, 2016) (authorizing approximately

$50 million DIP that included refinancing of $32 million in prepetition debt); In re Black

Elk Energy Offshore Operations, LLC, No. 15-34287 (MI) (Bankr. S.D. Tex. Mar. 18,

2016) (authorizing approximately $15 million DIP that included refinancing of

approximately $7.5 million in prepetition debt); In re ATP Oil & Gas Corp., No. 12-

36187 (MI) (Bankr. S.D. Tex. Sept. 20, 2012) (authorizing approximately $618 million

DIP that included refinancing of approximately $368 million in prepetition debt).

   B. The Debtors Should Be Authorized to Use Cash Collateral

       63.     The Debtors should be permitted to use Cash Collateral pursuant to

section 363(c)(2) of the Bankruptcy Code, which provides, in relevant part, that a debtor

“may not use, sell, or lease cash collateral . . . unless: (A) each entity that has an interest

in such cash collateral consents; or (B) the court, after notice and a hearing, authorizes
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such use, sale, or lease in accordance with the provisions of this section.” 11 U.S.C.

§ 363(c)(2). Section 363(e) of the Bankruptcy Code further provides that “on request of

an entity that has an interest in property . . . to be used, sole, or leased, by the trustee, the

court . . . shall prohibit or condition such use, sale, or lease as is necessary to provide

adequate protection of such interest.” § 362(e).

        64.     The Adequate Protection Obligations, described above, are intended to

protect the Prepetition Secured Parties from any diminution in the value of their interests

in the Prepetition Collateral resulting from the Debtors’ use thereof during the pendency

of the Chapter 11 Cases.

        65.     While section 361 of the Bankruptcy Code provides examples of forms of

adequate protection, such as granting replacement liens and administrative claims, courts

decide what constitutes adequate protection on a case-by-case basis. See, e.g., In re

Swedeland Dev. Grp., Inc., 16 F.3d at 564 (“[A] determination of whether there is

adequate protection is made on a case by case basis.”); In re Martin, 761 F.2d 472, 474

(8th Cir. 1985) (“[S]uch matters are [to be] left to case-by-case interpretation and

development.” (brackets in original) (quotations omitted)).          The adequate protection

offered here is traditional and routinely granted, including in this district. See, e.g., In re

Bristow Grp., Inc., No. 19-32713 (DRJ) (Bankr. S.D. Tex. Aug. 21, 2019) (D.I. 582); In

re Offshore Grp. Inv. Ltd., No. 15-12422 (BLS) (Bankr. D. Del. Jan. 8, 2016) (E.I. 158)

(granting prepetition secured parties adequate protection liens, superpriority claims

subject to a carve out, fees and expenses, and requiring that the debtors deliver certain

financial reports and budget compliance documents); Interim Order at 11-21, In re

Samson Res. Corp., No. 15-11934 (CSS) (Bankr. D. Del. Sep. 25, 2015) (E.I. 111-2)


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(granting certain prepetition secured parties adequate protection liens, superpriority

administrative claims, fees and expenses, and adequate protection payments, and

requiring the debtors to provide monthly rolling 13-week cash flow forecasts and other

financial reports); In re EXCO Res., Inc., No. 18-30155 (MI) (Bankr. S.D. Tex. Feb. 21,

2018) (granting adequate protection replacement liens, adequate protection payments,

and fees and expenses); In re LINN Energy, LLC, No. 16-60040 (DRJ) (Bankr. S.D. Tex.

May 13, 2016) (same); In re Energy XXI LTD., No. 16-31928 (DRJ) (Bankr. S.D. Tex.

Apr. 15, 2016) (same); In re Goodrich Petrol. Corp., No. 16-31975 (MI) (Bankr. S.D.

Tex. Apr. 18, 2016) (same); In re Midstates Petrol. Co., No. 16-32237 (DRJ) (Bankr. S.D.

Tex. May 2, 2016) (same); In re Southcross Holdings LP, No. 16-20111 (MI) (Bankr.

S.D. Tex. Mar. 29, 2016) (same).

       66.     In light of the foregoing, the Debtors further submit that the proposed

Adequate Protection Obligations to be provided for the benefit of the Prepetition Secured

Parties are fair and appropriate under the circumstances to ensure that the Debtors are

able to continue using the Cash Collateral, subject to the terms and conditions set forth in

the Interim Order, for the benefit of all parties in interest and the Debtors estates.

   C. The DIP Agent and the DIP Lenders Should Be Afforded Good Faith
      Protection Under Section 364(e) of the Bankruptcy Code

       67.     Section 364(e) of the Bankruptcy Code protects a good faith lender’s right

to collect on loans extended to a debtor, and its right in any lien securing those loans,

even if the authority of the debtor to obtain such loans or grant such liens is later reversed

or modified on appeal. 11 U.S.C. § 364(e). Section 364(e) of the Bankruptcy Code

provides as follows:

               The reversal or modification on appeal of an authorization
               under this section [364 of the Bankruptcy Code] to obtain
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               credit or incur debt, or of a grant under this section of a
               priority or a lien, does not affect the validity of any debt so
               incurred, or any priority or lien so granted, to an entity that
               extended such credit in good faith, whether or not such
               entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting
               of such priority or lien, were stayed pending appeal.

               Id.

       68.     The DIP Facility is the result of (a) the Debtors’ reasonable and informed

determination that the DIP Lenders offered the most favorable terms on which to obtain

vital post-petition financing and (b) extensive arm’s length, good faith negotiations

between the Debtors and the DIP Lenders. See Yi Decl. ¶ 30. The Debtors submit that

the terms and conditions of the DIP Facility are reasonable and appropriate under the

circumstances, and the proceeds of the DIP Facility will be used only for purposes that

are permissible under the Bankruptcy Code. Further, no consideration is being provided

to the DIP Agent, the DIP Lenders, or any other party to the DIP Loan Documents other

than as described herein. Accordingly, the Court should find that the obligations arising

under the DIP Facility and other financial accommodations made to the Debtors have

been extended by the DIP Agent and the DIP Lenders in “good faith” within the meaning

of section 364(e) of the Bankruptcy Code and, therefore, the DIP Agent and the DIP

Lenders are entitled to all of the protections afforded thereby.

   D. The Automatic Stay Should Be Modified on a Limited Basis

       69.     The proposed Interim Order provides that the automatic stay provisions of

section 362 of the Bankruptcy Code will be modified to permit (a) the Debtors to grant

the liens and claims provided for under the DIP Facility, (b) the Debtors to incur the

liabilities and obligations contemplated in the DIP Loan Documents, (c) the Debtors to

pay all amounts required in accordance with the DIP Loan Documents, (d) the DIP
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Secured Parties, subject to certain limitations, to exercise remedies upon the occurrence

and during the continuation of an event of default under the DIP Loan Documents, and

(e) the DIP Secured Parties to implement all of the terms, rights, benefits, privileges,

remedies, and provisions of the Interim Order and the DIP Loan Documents, including

allowing the DIP Lenders to file any financing statements, security agreements, notices of

liens, and other similar instruments and documents in order to validate and perfect the

liens and security interests granted to them under the Interim Order.

       70.     Stay modifications of this kind are ordinary and standard features of

debtor-in-possession financing arrangements, and, in the Debtors’ business judgment, are

reasonable and fair under the circumstances of the chapter 11 cases. See, e.g., In re

Bristow Grp., Inc., No. 19-32713 (D.I. 582) (Bankr. S.D. Tex. August 21, 2019)

(modifying automatic stay as necessary to effectuate the terms of the order); In re

Vanguard Nat. Res., Inc. Case No. 19-31786 (DRJ) (Bankr. S.D. Tex. Apr. 30, 2019)

(modifying automatic stay as necessary to effectuate the terms of the order); In re

Westmoreland Coal Co. Case No. 18-35672 (DRJ) (Bankr. S.D. Tex. Nov. 15, 2018)

(same); In re Southcross Holdings LP, No. 16-20111 (MI) (Bankr. S.D. Tex. Apr. 11,

2016) (modifying automatic stay as necessary to effectuate the terms of the order); In re

Autoseis, Inc., No. 14-20130 (RSS) (Bankr. S.D. Tex. Mar. 27, 2014) (same); In re ATP

Oil & Gas Corp., No. 12-36187 (MI) (Bankr. S.D. Tex. Aug. 17, 2012) (same); In re

MPF Holdings US LLC, No. 08-36084 (JB) (Bankr. S.D. Tex. Feb. 18, 2009) (same); see

also In re TMP Directional Mktg., LLC, No. 11-13835 (MFW) (Bankr. D. Del. Jan. 17,

2012) (same). The Debtors therefore submit that the modification of the automatic stay as

set forth in the Order should be approved.


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   E. The Scope of the Carve-Out Is Appropriate

       71.     The DIP Facility and the Interim Order subject the security interests and

administrative expense claims under the DIP Facility and Adequate Protection

Obligations to the Carve-Out. Such carve-outs for professional fees have been found to

be reasonable and necessary to ensure that a debtor’s estate and any official committee

appointed can reimburse their professionals in certain circumstances during an event of

default under the terms of the debtor’s post-petition financing. See In re Ames Dep’t

Stores, Inc., 115 B.R. at 38 (“Absent such protection, the collective rights and

expectations of all parties-in-interest are sorely prejudiced”). Additionally, the Carve-

Out protects against administrative insolvency during the course of these Chapter 11

Cases by ensuring that, notwithstanding the grant of superpriority claims and liens under

the DIP Facility and Adequate Protection Obligations, assets remain for the payment of

the fees of the Office of the United States Trustee for the Southern District of Texas (the

“U.S. Trustee”) and professional fees of the Debtors and any official committee.

       72.     Courts in this district and others routinely approve carve-out provisions

agreed to by the debtors and their post-petition lenders. See, e.g., In re Legacy Reserves

Inc., Case No. 19-33395 (MI) (Bankr. S.D. Tex. June 20, 2019); In re Sanchez Energy

Corporation, Case No. 19-34508 (MI) (Bankr. S.D. Tex. Aug. 15, 2019); In re Parker

Drilling Co., Case No. 18-36958 (MI) (Bankr S.D. Tex. Dec. 13, 2018); In re PetroQuest

Energy, Case No. 18-36322 (DRJ) (Bankr. S.D. Tex. Dec. 3, 2018); In re Westmoreland

Coal Co., Case No. 18-35672 (MI) (Bankr. S.D. Tex. Oct. 10, 2018); In re Linn Energy,

LLC, Case No. 16-60040 (DRJ) (Bankr. S.D. Tex. May 13, 2016).




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    F. Failure to Obtain Immediate Interim Access to the DIP Facility Would
       Cause Immediate and Irreparable Harm

        73.     Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a

motion to obtain credit pursuant to section 364 of the Bankruptcy Code may not be

commenced earlier than 14 days after the service of such motion. Upon request, however,

the Court may conduct a preliminary, expedited hearing on the motion and authorize the

obtaining of credit to the extent necessary to avoid immediate and irreparable harm to a

debtor’s estate.

        74.     The Debtors request that the Court hold and conduct a hearing to consider

entry of the Interim Order authorizing the Debtors, to immediately withdraw and borrow

funds under the DIP Facility.       The Debtors are at risk of suffering immediate and

irreparable harm if the Interim Order approving the DIP Facility is not entered sooner

than 14 days after service of the DIP Motion and if the Debtors are not permitted to

interim access to the DIP Revolving Loans. The Debtors require access to the DIP Term

Loans prior to the Final Hearing and entry of the Final Order in order to continue

operating, to pay their administrative expenses and to implement the relief requested in

the Debtors’ other “first day” motions.        This relief is necessary for the Debtors to

preserve and maximize value and, therefore, to avoid immediate and irreparable harm and

prejudice to the Debtors’ estates and all parties in interest.

                                 Request for Final Hearing

        75.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors

request that the Court set a date for the Final Hearing that is as soon as practicable, and

fix the time and date prior to the Final Hearing for parties to file objections to this Motion.



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                              Debtors’ Reservation of Rights

       76.     Nothing contained herein is intended or should be construed as, or deemed

to constitute, an agreement or admission as to the validity of any claim against the

Debtors on any grounds, a waiver or impairment of the Debtors’ rights to dispute any

claim on any grounds, or an assumption or rejection of any agreement, contract, or lease

under section 365 of the Bankruptcy Code. The Debtors expressly reserve their rights to

contest any claims related to the DIP Facility under applicable bankruptcy and non-

bankruptcy law. Likewise, if the Court grants the relief sought herein, any payment made

pursuant to the Court’s order is not intended, and should not be construed, as an

admission as to the validity of any claim or a waiver of the Debtors’ rights to dispute

such claim subsequently.

                                    Emergency Consideration

       77.     Pursuant to Local Rule 9013-1(i), the Debtors respectfully request

emergency consideration of this Motion under Bankruptcy Rule 6003(b). Bankruptcy

Rule 6003 provides that, “[e]xcept to the extent that relief is necessary to avoid

immediate and irreparable harm, the court shall not, within 21 days after the filing of the

petition, issue an order granting . . . (b) a motion to use, sell, lease, or otherwise incur an

obligation regarding property of the estate, including a motion to pay all or part of a

claim that arose before the filing of the petition . . . .” Fed. R. Bankr. P. 6003. As set

forth in this Motion, the First Day Declaration, and the Yi Declaration, the Debtors

believe that an orderly transition into chapter 11 is critical to the viability of the Debtors’

businesses, operations, and estates and that any delay in granting the emergency relief

requested herein could cause immediate and irreparable harm.                Accordingly, the

emergency relief requested herein is consistent with Bankruptcy Rule 6003.
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             Compliance with Bankruptcy Rule 6004(a) and Waiver of Stay Under
                                Bankruptcy Rule 6004(h)

       78.     To implement successfully the relief sought herein, the Debtors request

that the Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a)

under the circumstances. The Debtors also request that, to the extent applicable to the

relief requested in this Motion, the Court waive the stay imposed by Bankruptcy Rule

6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property

other than cash collateral is stayed until the expiration of 14 days after entry of the order,

unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the

relief that the Debtors seek in this Motion is necessary for the Debtors to operate their

businesses without interruption and to preserve value for their estates. Accordingly, the

Debtors respectfully submit that ample cause exists to justify the finding that the notice

requirements under Bankruptcy Rule 6004(a) have been satisfied and to grant a waiver of

the 14-day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief

sought herein justifies immediate relief.

                                            Notice

       79.     Notice of the relief requested in the Motion has been provided by

telecopy, email, overnight courier, and/or hand delivery, to (a) the United States Trustee

for the Southern District of Texas, (b) those creditors holding the 30 largest unsecured

claims against the Debtors’ estates (on a consolidated basis), (c) White & Case LLP, as

counsel to Coöperatieve Rabobank U.A., New York Branch, the administrative agent

under Debtors’ prepetition receivables purchase agreement and administrative agent

under Debtors’ prepetition secured revolving credit facility, and administrative agent

under Debtors’ proposed post-petition financing facility, (d) indenture trustee under the

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Debtors’ prepetition unsecured bond indenture, (e) Mayer Brown LLP, as counsel to PNC

Bank, National Association, the co-agent under Debtors’ prepetition receivables purchase

agreement, (f) Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel to an ad hoc

group of prepetition unsecured noteholders, (g) the Securities and Exchange Commission,

(h) the Internal Revenue Service, (i) the United States Attorney’s Office for the Southern

District of Texas, (j) the state attorneys general for states in which the Debtors conduct

business, (k) all other parties asserting a security interest in the assets of the Debtors to

the extent reasonably known to the Debtors, and (l) any party that has requested notice

pursuant to Bankruptcy Rule 2002 (the “Notice Parties”). A copy of this Motion and

any order approving it will also be made available on the Debtors’ case information

website located at https://dm.epiq11.com/SouthernFoods. Under the circumstances, such

notice of the relief requested in the Motion constitutes due, sufficient and appropriate

notice and complies with section 102(1) of the Bankruptcy Code, Bankruptcy Rules

2002, 4001(b) and (c) and 9014, the Local Rules, and the Complex Case Rules.

                                            No Prior Request

       80.     The Debtors have not previously sought the relief requested herein from

the Court or any other court.

       WHEREFORE, the Debtors respectfully request that the Court enter the proposed

forms of order, substantially in the forms attached hereto, granting the relief requested

herein and such other and further relief as the Court deems just and proper.




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Dated: November 12, 2019
Houston, Texas
                                  Respectfully submitted,
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                                  Possession




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